17-22453-rdd          Doc 739      Filed 12/15/20 Entered 12/15/20 14:03:12                    Main Document
                                               Pg 1 of 39



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X

In re:                                                              Chapter 11

EAST VILLAGE PROPERTIES LLC,                                         Case No. 17-22453 (RDD)
et al.,1
                                                                    (Jointly Administered)

                                      Debtors.

---------------------------------------------------------X



                     AMENDED JOINT PLAN OF LIQUIDATION OF
              EAST VILLAGE PROPERTIES LLC AND AFFILIATED DEBTORS


                                                     ROBINSON BROG LEINWAND
                                                     GREENE GENOVESE & GLUCK P.C.
                                                     Attorneys for the Debtors and Debtors in
                                                     Possession
                                                     875 Third Avenue, 9th Floor
                                                     New York, New York 10022
                                                     Tel. No.: 212-603-6300

                                                     A. Mitchell Greene, Esq.
                                                     Fred B. Ringel, Esq.
                                                     Lori A. Schwartz, Esq.

New York, New York
December 15, 2020




1
 The Debtors in these chapter 11 cases and the last four digits of each Debtors’ taxpayer identification number are
as follows: East Village Properties LLC (1437); 223 East 5th Street LLC (8999); 229 East 5th Street LLC (8348);
231 East 5th Street LLC (4013); 233 East 5th Street LLC (8999); 235 East 5th Street LLC (1702); 228 East 6th Street
LLC (2965); 66 East 7th Street LLC (1812); 27 St Marks Place LLC (1789); 334 East 9th Street LLC (7903); 253
East 10th Street LLC (4317); 325 East 12th Street LLC (0625); 327 East 12th Street LLC (7195); 329 East 12th Street
LLC (0475); 510 East 12th Street LLC (1469); and 514 East 12th Street LLC (7232).



{00877883.DOCX;10 }
17-22453-rdd            Doc 739      Filed 12/15/20 Entered 12/15/20 14:03:12        Main Document
                                                 Pg 2 of 39



        East Village Properties LLC, 223 East 5th Street LLC, 229 East 5th Street LLC, 231 East
5th Street LLC, 233 East 5th Street LLC, 235 East 5th Street LLC, 228 East 6th Street LLC, 66
East 7th Street LLC, 27 St Marks Place LLC, 334 East 9th Street LLC, 253 East 10th Street LLC,
325 East 12th Street LLC, 327 East 12th Street LLC, 329 East 12th Street LLC, 510 East 12th
Street LLC, and 514 East 12th Street LLC (collectively, the “Debtors”), propose the following
amended joint chapter 11 plan of liquidation pursuant to section 1121(a) of the Bankruptcy
Code. Capitalized terms used herein shall have the meanings set forth in Section 1.A.

SECTION 1.               DEFINITIONS AND INTERPRETATION.
         A.           Definitions.

         1.1. Administrative Expense Claim means any Claim for costs and expenses of
Administration during the Chapter 11 Cases pursuant to sections 328, 330, 363, 364(c)(1), 365,
503(b) or 507(a)(2) of the Bankruptcy Code, including, (a) the actual and necessary costs and
expenses incurred after the Commencement Date and through the Effective Date of preserving
the Estates and operating the business of the Debtors (such as wages, salaries or commissions for
services and payments for goods and other services and leased premises); (b) Fee Claims; and (c)
all fees and charges assessed against the Estates pursuant to section 1911 through 1930 of
chapter 123 of title 28 of the United States Code, 28 U.S.C. §§ 1-1401.

        1.2. Administrative Expense Claims Bar Date means the Confirmation Date, except
for Fee Claims (which date shall be sixty (60) days following the Effective Date) or as otherwise
specifically set forth in the Plan.

        1.3. Administrative Expense Claims Objection Bar Date means the first Business
Day that is 120 days following the Effective Date, except as otherwise specifically set forth in
the Plan; provided that the Administrative Claims Objection Bar Date may be extended pursuant
to an order of the Bankruptcy Court upon a motion filed by the Plan Administrator after notice
and a hearing.

        1.4. Allowed means, (i) with reference to any Claim (a) any Claim against the
Debtors that have been listed by the Debtors in their Schedules, as such Schedules may be
amended by the Debtors from time to time in accordance with Bankruptcy Rule 1009, as
liquidated in amount and not disputed or contingent and for which no contrary proof of Claim
has been filed, (b) any Claim listed on the Debtors’ Schedules or included in a timely filed proof
of Claim, as to which no objection to allowance has been, or subsequently is, interposed in
accordance with Section 8 hereof or prior to the expiration of such other applicable period of
limitation fixed by the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or as
to which any objection has been determined by a Final Order to the extent such Final Order is in
favor of the respective holder, or (c) any Claim expressly allowed by a Final Order.

        1.5. Available Cash means all Cash of the Debtors realized from their business
operations, the sale or other disposition (other than the Sale Transaction) of its assets, the interest
earned on its invested funds, recoveries from Causes of Action (after payment of any fees and
expenses incurred in connection with the prosecution or resolution of any Cause of Action as
set forth in Section 5.11 herein) or from any other source or otherwise. Available Cash, if any,
shall be contributed to the Plan Fund and utilized to make payments required under the Plan.


{00877883.DOCX;10 }                                 2
17-22453-rdd          Doc 739   Filed 12/15/20 Entered 12/15/20 14:03:12         Main Document
                                            Pg 3 of 39



       1.6. Avoidance Action means any action commenced, or that may be commenced,
before or after the Effective Date pursuant to section 544, 545, 547, 548, 549, 550, or 551 of the
Bankruptcy Code.

        1.7. Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. §§ 101, et
seq., as amended from time to time, as applicable to the Chapter 11 Cases.

        1.8. Bankruptcy Court means the United States Bankruptcy Court for the Southern
District of New York having jurisdiction over the Chapter 11 Cases and, to the extent of any
reference made under section 157 of title 28 of the United States Code, the unit of such District
Court having jurisdiction over the Chapter 11 Cases under section 151 of title 28 of the United
States Code.

        1.9. Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under section 2075 of title 28 of the United
States Code, as amended from time to time, applicable to the Chapter 11 Cases, and any Local
Rules of the Bankruptcy Court.

        1.10. Bar Date Order means that certain Order Establishing Deadline for Filing Proofs
of Claim Against or Interests in the Debtors and Approving the Form and Manner of Notice
Thereof entered on April 25, 2017 at ECF No. 36 which established June 1, 2017 as the last day
for creditors to file claims against the Debtors’ Estates and established September 25, 2017 as the
last date for creditors that are governmental units to file claims against the Debtors’ Estates.

       1.11. Business Day means any day other than a Saturday, a Sunday or any other day on
which banking institutions in New York, New York are required or authorized to close by law or
executive order.

        1.12. Carve-Out shall have the meaning ascribed to it in the Interim Cash Collateral
Stipulation and Order.

         1.13. Cash means legal tender of the United States of America.
       1.14. Cash Collateral shall have the meaning ascribed to it in Final Consent Order
Authorizing and Directing Use of Cash Collateral Pursuant to 11 U.S.C. § 363(c), (II) Granting
Adequate Protection pursuant to 11 U.S.C. § 361, and (III) Granting Related Relief [ECF Doc
No. 85] entered on May 22, 2017.

         1.15. Causes of Action means any action, Claim, cause of action, controversy, demand,
right, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense,
offset, power, privilege, license and franchise of any kind or character whatsoever, known,
unknown, contingent or non-contingent, matured or unmatured, suspected or unsuspected,
liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable directly or
derivatively, whether arising before, on, or after the Commencement Date, in contract or in tort,
in law or in equity or pursuant to any other theory of law. Cause of Action also includes: (a) any
right of setoff, counterclaim or recoupment and any claim for breach of contract or for breach of
duties imposed by law or in equity; (b) the right to object to Claims or Interests; (c) any
Avoidance Action; (d) any claim or defense including fraud, mistake, duress and usury and any



{00877883.DOCX;10 }                              3
17-22453-rdd          Doc 739   Filed 12/15/20 Entered 12/15/20 14:03:12          Main Document
                                            Pg 4 of 39



other defenses set forth in section 558 of the Bankruptcy Code; and (e) any state law fraudulent
transfer claim.

        1.16. Chapter 11 Cases means the cases under chapter 11 of the Bankruptcy Code
commenced by the Debtors on March 28, 2017, and styled In re East Village Properties, LLC, et
al., Case No. 17-22453 (RDD).

         1.17. Claim has the meaning set forth in section 101(5) of the Bankruptcy Code.
        1.18. Claims Objection Bar Date means the first Business Day that is 120 days after
the Effective Date; provided that the Claims Objection Bar Date may be extended pursuant to an
order of the Bankruptcy Court upon a motion filed by the Plan Administrator.

       1.19. Class means any group of Claims or Interests classified pursuant to Section 3.1 of
the Plan.

       1.20. Closing Date means the date of issuance of the deeds to the Properties from the
Debtors to EVF1 or its nominee or designee.

         1.21. Commencement Date means March 28, 2017.
       1.22. Confirmation means the entry on the docket of the Chapter 11 Cases of the
Confirmation Order.

        1.23. Confirmation Date means the date on which the Clerk of the Bankruptcy Court
enters the Confirmation Order.

       1.24. Confirmation Hearing means the hearing to be held by the Bankruptcy Court
regarding Confirmation of the Plan as such hearing may be adjourned or continued from time to
time.

       1.25. Confirmation Order means an order of the Bankruptcy Court in form and
substance reasonably acceptable to the Debtors and EVF1 confirming the Plan. The
Confirmation Order and the Sale Order may be combined into one (1) order of the Bankruptcy
Court.

         1.26. Consummation means the occurrence of the Effective Date of the Plan.
       1.27. Cure Obligation means all (a) amounts (or such other amount as may be agreed
upon by the parties under an Executory Contract or Unexpired Lease) required to cure any
monetary defaults; and (b) other obligations required to cure any non-monetary defaults under
any Executory Contract or Unexpired Lease that is to be assumed by the Debtors and assigned to
EVF1 or its nominee or designee in accordance with the Sale Transaction pursuant to sections
365 or 1123 of the Bankruptcy Code.

        1.28. Debtors means (i) East Village Properties LLC, (ii) 223 East 5th Street LLC, (iii)
229 East 5th Street LLC, (iv) 231 East 5th Street LLC, (v) 233 East 5th Street LLC, (vi) 235 East
5th Street LLC, (vii) 228 East 6th Street LLC, (viii) 66 East 7th Street LLC, (ix) 27 St Marks Place
LLC, (x) 334 East 9th Street LLC, (xi) 253 East 10th Street LLC, (xii) 325 East 12th Street LLC,



{00877883.DOCX;10 }                              4
17-22453-rdd          Doc 739   Filed 12/15/20 Entered 12/15/20 14:03:12          Main Document
                                            Pg 5 of 39



(xiii) 327 East 12th Street LLC, (xiv) 329 East 12th Street LLC, (xv) 510 East 12th Street LLC,
and (xvi) 514 East 12th Street LLC.

       1.29. Disclosure Statement means the Third Amended Disclosure Statement for the
Plan which is prepared and distributed in accordance with sections 1125, 1126(b) and/or 1145 of
the Bankruptcy Code, Bankruptcy Rule 3018 and/or other applicable law.

        1.30. Disputed Claim means with respect to a Claim or Interest, any such Claim or
Interest (a) to the extent neither Allowed nor disallowed under the Plan or a Final Order nor
deemed Allowed under section 502, 503 or 1111 of the Bankruptcy Code, or (b) for which a
Proof of Claim or Interest has been filed, to the extent the Debtors or any party in interest has
interposed a timely objection or request for estimation before the Confirmation Date in
accordance with the Plan, which objection or request for estimation has not been withdrawn or
determined by a Final Order.

        1.31. Disputed Claim Reserve means the sum of up to $125,000 to be funded by EVF1,
after the Effective Date, to pay no greater than 25% of additional Allowed Claims of General
Unsecured Creditors and Tenant Claims other than the Allowed Claims of General Unsecured
Creditors and Tenant Claims as of the Effective Date.

       1.32. Distribution Date means a date or dates, including the Initial Distribution Date, as
determined by the Plan Administrator in accordance with the terms of the Plan, on which the
Plan Administrator or EVF1 makes a distribution to holders of Allowed Claims.

         1.33. Distribution Record Date means the Effective Date of the Plan.
       1.34. Effective Date means the date on which all conditions to the effectiveness of the
Plan set forth in Section 11 hereof have been satisfied or waived in accordance with the terms of
the Plan.

        1.35. Effective Date Payments means the sum of $1,478,500 to be funded on or before
the Effective Date, plus the sum of $150,000 to be paid on or before the Effective Date on
account of the Class 6 Claim.

         1.36. Entity has the meaning set forth in section 101(15) of the Bankruptcy Code.
      1.37. Estates means the estates of the Debtors created under section 541 of the
Bankruptcy Code.

        1.38. EVF1 means EVF1 LLC (formerly known as EVP 1, LLC) in its capacity as the
pre-petition lender to the Debtors and as secured creditor under the Cash Collateral Stipulation
and the funder of the Plan.

       1.39. EVF1 Mortgages means the five mortgages on the Properties granted to EVF1 by
the Debtors to secure EVF1’s five loans to the Debtors.

        1.40. EVF1 First Mortgage means that certain Mortgage and Security Agreement
dated September 10, 2015, pursuant to which EVF1 secured the loan to the Debtors in the
original principal amount of $89,667,660.00.



{00877883.DOCX;10 }                              5
17-22453-rdd          Doc 739   Filed 12/15/20 Entered 12/15/20 14:03:12          Main Document
                                            Pg 6 of 39



        1.41. EVF1 Second Mortgage means that certain Mortgage and Security Agreement
dated September 10, 2015, pursuant to which EVF1 secured an additional loan to the Debtors in
the original principal amount of $20,000,000.00.

       1.42. EVF1 Third Mortgage means that certain Building Mortgage and Security
Agreement dated September 10, 2015, pursuant to which EVF1 secured an additional loan to the
Debtors in the original principal amount of $10,068,000.00.

        1.43. EVF1 Fourth Mortgage means that certain Project Mortgage and Security
Agreement dated September 10, 2015, pursuant to which EVF1 secured an additional amount in
the original principal amount of $4,249,340.00.

        1.44. EVF1 Fifth Mortgage means that certain Mortgage and Security Agreement
dated June 24, 2016, pursuant to which EVF1 secured an additional loan to the Debtors in the
original principal amount of $1,100,000.00.

        1.45. EVF1 Notes means: (i) that certain Mortgage Note dated September 10, 2015
evidencing a loan in the principal amount of $89,667,660.00, (ii) that certain second Mortgage
Note dated September 10, 2015 evidencing a loan in the principal amount of $20,000,000, (iii)
that certain Building Loan Note dated September 10, 2015 evidencing a loan in the principal
amount of $10,068,000, (iv) that certain Project Loan Note dated September 10, 2015 evidencing
a loan in the principal amount of $4,249,340, and (v) that certain Mortgage Note dated June 24,
2016 evidencing a loan in the principal amount of $1,100,000.

        1.46. Exculpated Parties means collectively: (a) the Debtors; (b) EVF1, and (c) with
respect to each of the foregoing entities in clauses (a) and (b), such entities’ successors and
assigns, subsidiaries, affiliates, current and former officers, directors, principals, shareholders,
members, partners, employees, agents, advisory board members, financial advisors, attorneys,
accountants, investment bankers, consultants, representatives, management companies, and other
professionals, and such persons’ respective heirs, executors, Estates, servants and nominees, in
each case in their capacity as such. Exculpated Parties specifically includes GC Realty Advisors,
LLC and excludes Raphael Toledano and his company, Brookhill Management.

        1.47. Executory Contract means a contract or lease (other than a lease that relates to a
statutory tenancy) to which the Debtors are parties that are subject to assumption or rejection
under sections 365 or 1123 of the Bankruptcy Code.

       1.48. Existing Equity Interests means all Allowed Interests in each of the Debtors,
including membership interests or the rights to acquire any such Interests.

        1.49. Fee Claims means a Claim for professional services rendered or costs incurred on
or after the Commencement Date through the Effective Date by professional persons retained by
the Debtors pursuant to sections 327, 328, 329, 330, 331, 503(b) or 1103 of the Bankruptcy Code
in the Chapter 11 Cases.

      1.50. Final Cash Collateral Stipulation and Order means that certain Final Stipulation
and Order Between EVF1 and the Debtors (I) Authorizing Use of Cash Collateral, (II) Granting
Adequate Protection, and (III) Granting Related Relief, entered by the Bankruptcy Court on May



{00877883.DOCX;10 }                              6
17-22453-rdd          Doc 739   Filed 12/15/20 Entered 12/15/20 14:03:12          Main Document
                                            Pg 7 of 39



22, 2017 at ECF Doc No 85 , which ratifies, modifies and/or amends, as the case may be, the
Interim Cash Collateral Stipulation.

         1.51. Final Order means an order or judgment of a court of competent jurisdiction that
has been entered on the docket maintained by the clerk of such court, which has not been
reversed, vacated or stayed and as to which (a) the time to appeal, petition for certiorari, or move
for a new trial, reargument or rehearing has expired and as to which no appeal, petition for
certiorari, or other proceedings for a new trial, reargument or rehearing shall then be pending, or
(b) if an appeal, writ of certiorari, new trial, reargument or rehearing thereof has been sought,
such order or judgment shall have been affirmed by the highest court to which such order was
appealed, or certiorari shall have been denied, or a new trial, reargument or rehearing shall have
been denied or resulted in no modification of such order, and the time to take any further appeal,
petition for certiorari or move for a new trial, reargument or rehearing shall have expired;
provided, however, that no order or judgment shall fail to be a “Final Order” solely because of
the possibility that a motion pursuant to section 502(j) or 1144 of the Bankruptcy Code or under
Rule 60 of the Federal Rules of Civil Procedure or Bankruptcy Rule 9024 has been or may be
filed with respect to such order or judgment.

        1.52. General Unsecured Claim means any unsecured Claim that is not entitled to
priority under the Bankruptcy Code or any order of the Bankruptcy Court.

        1.53. General Unsecured Insider Claim means an unsecured Claim held by an insider
(as defined in 11 U.S.C. § 101(31) that is not entitled to priority under the Bankruptcy Code or
any other order of the Bankruptcy Court.

      1.54. Governmental Unit has the meaning set forth in section 101(27) of the
Bankruptcy Code.

       1.55. Impaired means, with respect to a Claim, Interest or Class of Claims or Interests,
“impaired” within the meaning of section 1124 of the Bankruptcy Code.

      1.56. Initial Distribution means the first distribution that either the Debtors, the Plan
Administrator, or EVF1, as applicable, makes to holders of Allowed Claims.

       1.57. Initial Distribution Date means the date selected by the Debtors on or as soon as
reasonably practicable after the Effective Date.

        1.58. Interests means any equity security in each of the Debtors as defined in section
101(16) of the Bankruptcy Code, including all instruments evidencing an ownership interest in
the Debtors, whether or not transferable, and any option, warrant or right, contractual or
otherwise, to acquire any such interests in the Debtors that existed immediately before the
Effective Date.

       1.59. Interim Cash Collateral Stipulation means the Interim Stipulation and Order
Between EVF1 and the Debtors (I) Authorizing Use of Cash Collateral, (II) Granting Adequate
Protection, and (III) Granting Related Relief, entered by the Bankruptcy Court on April 27, 2017
at ECF Doc No 45.

         1.60. Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.


{00877883.DOCX;10 }                              7
17-22453-rdd          Doc 739   Filed 12/15/20 Entered 12/15/20 14:03:12          Main Document
                                            Pg 8 of 39



       1.61. Manager Administrative Claim means the administrative claim payable to the
Debtors’ post Commencement Date manager and Plan Administrator.

       1.62. Other Priority Claim means any Claim against the Debtors entitled to priority in
payment as specified in section 507(a)(3), (4), (5), (6), (7) or (9) of the Bankruptcy Code, other
than an Administrative Expense Claim or a Priority Tax Claim.

         1.63. Other Secured Claim means a Secured Claim, other than the EVF1 Secured
Claim.

        1.64. Person means an individual, corporation, partnership, joint venture, association,
Joint Stock Company, Limited Liability Company, limited liability partnership, trust, estate,
unincorporated organization, Governmental Unit or other entity.

        1.65. Plan means the Debtors’ joint chapter 11 plan of liquidation, including the
exhibits hereto and the Plan Supplement, as the same may be amended or modified from time to
time in accordance with Section 14.3 herein.

         1.66. Plan Administrator has the meaning set forth in Section 5.8 of this Plan.
        1.67. Plan Fund means the amount of Cash to be provided by EVF1 to the Plan
Administrator on the Effective Date, from the Effective Date Payments, as supplemented
thereafter for future Plan payments, from the Post Effective Date Payments, which, when added
to the Available Cash held by the Debtors on the Effective Date, if any, or recovered thereafter
by the Debtors (after payment of any fees and expenses incurred in connection with the
prosecution or resolution of any Cause of Action as set forth in Section 5.11 herein), will be
sufficient to pay, as provided for in accordance with the terms and conditions set forth in the
Plan, the Allowed Claims in Classes 1, 3 and 6 and to pay an approximately 25% distribution
over time to Allowed Claims in Classes 4 and 5 (as supplemented by sale proceeds from the Post
Effective Date Payments from any further sale of the Properties) in accordance with their relative
priorities provided for in the Bankruptcy Code. After Confirmation, EVF1 will be responsible to
fund the Disputed Claim Reserve of up to $125,000 for payment of Disputed Claims (once the
claims become Allowed Claims). EVF1 shall also be responsible for amounts due on account of
Administrative Claims, Priority Tax Claims and Fee Claims. Other than for amounts due to pay
Administrative Claims (but not for the Manager Administrative Claim which shall be paid from
the Effective Date Payments and the Post Effective Date Payments), Priority Tax Claims, Fee
Claims and United States Trustee Fees, the Plan Fund (excluding the $150,000 payment on
account of the Class 6 Claim), shall be treated on a pari passu basis and shall not exceed
$3,100,000 (assuming the Disputed Claim Reserve is necessary). Once total payment to
Allowed General Unsecured Claims, Allowed Tenant Claims and the Manager Administrative
Claim reach $3,100,000 (assuming the Disputed Claim Reserve is necessary), EVF1 shall have
no further funding obligations on account of Allowed General Unsecured Claims, Allowed
Tenant Claims and the Manager Administrative Claim regardless of the amount that has already
been paid. Notwithstanding anything to the contrary set forth herein, EVF1’s total funding
obligations under the Plan shall be for no more than the Effective Date Payments, the Post
Effective Date Payments, and payments on account of Administrative Claims, Priority Tax
Claims, Fee Claims and United States Trustee Fees.



{00877883.DOCX;10 }                              8
17-22453-rdd          Doc 739   Filed 12/15/20 Entered 12/15/20 14:03:12         Main Document
                                            Pg 9 of 39



         1.68. Plan Supplement means the compilation of documents, in form and substance
reasonably acceptable to the Debtors and EVF1, containing, among other things, the Schedule of
Cure Costs, the Purchase Agreement, and information required to be disclosed in accordance
with section 1129(a)(5) of the Bankruptcy Code previously filed as ECF doc. no. 188; provided
that, through the Effective Date, the Debtors shall have the right to amend any schedules,
exhibits, and the other documents contained in, and exhibits to, the Plan Supplement.

       1.69. Plan Supplement Filing Date means the date on which all documents to be
included in the Plan Supplement must be filed with the Court.

       1.70. Plan Supplement Filing Deadline means the date that is seven (7) days prior to
the commencement of the Confirmation Hearing.

        1.71. Post Effective Date Payments means the sum of $1,487,500 to be funded by: (1)
any post Effective Date sale of the Properties in the amount of $250,000 for each of the separate
Properties, or (2) if no sales have occurred or there is a remaining balance due, to be funded by
EVF1, less any amounts already paid from any sale of the Properties, to be paid no later than
July 1, 2022.

       1.72. Priority Tax Claim means any unsecured Claim of a Governmental Unit of the
kind entitled to priority in payment as specified in sections 502(i) and 507(a)(8) of the
Bankruptcy Code.

        1.73. Pro Rata means a proportionate share, so that the ratio of the consideration
distributed on account of an Allowed Claim or Interest in a Class to the amount of such Allowed
Claim or Interest is the same as the ratio of the amount of the consideration distributed on
account of all Allowed Claims or Interests in such Class to the amount of all Allowed Claims or
Interests in such Class.

      1.74. Professional Fees means the compensation for services rendered and
reimbursement of expenses incurred by estate professionals whose retention was approved by the
Bankruptcy Court pursuant to section 327 or 328 of the Bankruptcy Code.

        1.75. Proof of Claim means a proof of Claim filed against the Debtors in their
respective Chapter 11 Cases.

        1.76. Properties mean the real properties and improvements thereon located at (i) 223
East 5 Street, New York, NY, (ii) 229 East 5th Street, New York, NY, (iii) 231 East 5th Street,
        th

New York, NY, (iv) 233 East 5th Street, New York, NY, (v) 235 East 5th Street, New York, NY,
(vi) 228 East 6th Street, New York, NY, (vii) 66 East 7th Street, New York, NY, (viii) 27 St
Marks Place, New York, NY, (ix) 334 East 9th Street, New York, NY, (x) 253 East 10th Street,
New York, NY, (xi) 325 East 12th Street, New York, NY, (xii) 327 East 12th Street, New York,
NY, (xii) 329 East 12th Street, New York, NY, (xiv) 510 East 12th Street, New York, NY, and
(xv) 514 East 12th Street, New York, NY, and owned by the Debtors, including the associated air
rights.




{00877883.DOCX;10 }                             9
17-22453-rdd            Doc 739    Filed 12/15/20 Entered 12/15/20 14:03:12        Main Document
                                               Pg 10 of 39



        1.77. Purchase Agreement means the Asset Purchase Agreement between the Debtors,
as sellers, and EVF1 (or its nominee or designee) as purchaser, which provides for the sale of the
Properties.

        1.78. Sale Order means an order of the Bankruptcy Court in form and substance
reasonably acceptable to the Debtors and EVF1 or its nominee or designee (a) approving the Sale
Transaction; (b) determining that EVF1or its nominee or designee is a good faith purchaser; (c)
providing that the closing of the Sale Transaction will occur in accordance with the terms and
conditions of the Purchase Agreement; and (d) providing that the delivery of the deeds in
accordance with the terms of the Confirmation Order and Purchase Agreement approved under
this Plan, if confirmed by the Court, shall constitute the making or delivery of an instrument of
transfer under a plan confirmed under section 1129 of this title and may not be taxed under any
law imposing a stamp tax or similar tax. The Confirmation Order and the Sale Order may be
combined into one (1) order of the Bankruptcy Court.

       1.79. Sale Transaction means the sale of the Properties to EVF1 or its nominee or
designee which transfer shall be free and clear of all Liens, Claims and encumbrances other than
Permitted Exceptions as identified in the Purchase Agreement or in the event EVF1 or its
nominee or designee elects to take title to the Properties subject to the existing EVF1 Mortgages.

       1.80. Schedule of Cure Costs means the schedule of the sums necessary to cure
monetary defaults under Executory Contracts and Unexpired Leases to be assumed by the
Debtors as set forth in Exhibit C to the Plan Supplement, ECF doc. no. 188.

       1.81. Schedules means the schedules of assets and liabilities and the statement of
financial affairs filed by the Debtors under section 521 of the Bankruptcy Code, Bankruptcy
Rule 1007, and the Official Bankruptcy Forms of the Bankruptcy Rules, as such schedules and
statements have been or may be supplemented or amended from time to time.

        1.82. Secured Claim means a Claim to the extent (i) secured by property of the Estates,
the amount of which is equal to or less than the value of such property (A) as set forth in the
Plan, (B) as agreed to by the holder of such Claim and the applicable Debtors or (C) as
determined by a Final Order in accordance with section 506(a) of the Bankruptcy Code, or (ii)
secured by the amount of any rights of setoff of the holder thereof under section 553 of the
Bankruptcy Code.

       1.83. SPG means Silverstone Property Group, LLC, the managing agent retained in
accordance with the Management Agreement annexed as Exhibit “A” to the Interim Cash
Collateral Stipulation to manage the Properties on a day-to-day basis.

        1.84. Unimpaired means, with respect to a Claim, Interest or Class of Claims or
Interests, that such Claim or Interest is not “impaired” within the meaning of section 1123(a)(4)
and 1124 of the Bankruptcy Code.
         B.           Interpretation; Application of Definitions and Rules of Construction.
        Unless otherwise specified, all section or exhibit references in the Plan are to the
respective section in, or exhibit to, the Plan, as the same may be amended, waived or modified
from time to time. The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of


{00877883.DOCX;10 }                                 10
17-22453-rdd            Doc 739    Filed 12/15/20 Entered 12/15/20 14:03:12          Main Document
                                               Pg 11 of 39



similar import refer to the Plan as a whole and not to any particular section, subsection or clause
contained therein. The headings in the Plan are for convenience of reference only and shall not
limit or otherwise affect the provisions hereof. For purposes herein: (1) in the appropriate
context, each term, whether stated in the singular or the plural, shall include both the singular
and the plural, and pronouns stated in the masculine, feminine, or neuter gender shall include the
masculine, feminine, and the neuter gender; (2) any reference herein to a contract, lease,
instrument, release, indenture, or other agreement or document being in a particular form or on
particular terms and conditions means that the referenced document shall be substantially in that
form or substantially on those terms and conditions; (3) unless otherwise specified, all references
herein to “Sections” are references to Sections hereof or hereto; (4) the rules of construction set
forth in section 102 of the Bankruptcy Code shall apply; and (5) any term used in capitalized
form herein that is not otherwise defined but that is used in the Bankruptcy Code or the
Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the
Bankruptcy Rules, as the case may be.
         C.           Controlling Document
        In the event of an inconsistency between the Plan and the Plan Supplement, the terms of
the Plan shall control (unless stated otherwise in the Plan). The provisions of the Plan and of the
Confirmation Order shall be construed in a manner consistent with each other so as to effect the
purposes of each; provided that, if there is determined to be any inconsistency between any Plan
provision and any provision of the Confirmation Order that cannot be so reconciled, then, solely
to the extent of such inconsistency, the provisions of the Confirmation Order shall govern and
any such provision of the Confirmation Order shall be deemed a modification of the Plan and
shall control and take precedence.
SECTION 2.               ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS.

         2.1.         Administrative Expense Claims.
        Except to the extent that a holder of an Allowed Administrative Expense Claim and the
Debtors or the Plan Administrator agree to different treatment, EVF1 on behalf of the Debtors
(or the Plan Administrator, as the case may be) shall pay to each holder of an Allowed
Administrative Expense Claim, Cash in an amount equal to such Claim (plus statutory interest on
such claim, if applicable), on or as soon thereafter as is reasonably practicable, the later of (a) the
Effective Date and (b) the first Business Day after the date that is thirty (30) calendar days after
the date such Administrative Expense Claim becomes an Allowed Administrative Expense
Claim; provided, that Fee Claims shall receive the treatment in Section 2.2 below; provided,
further, that Allowed Administrative Expense Claims representing liabilities incurred in the
ordinary course of business by the Debtors shall be paid by EVF1 on behalf of the Debtors in the
ordinary course of business, consistent with past practice and in accordance with the terms and
subject to the conditions of any agreements governing, instruments evidencing or other
documents relating to such transactions.
        Except as otherwise provided by a Final Order previously entered by the Bankruptcy
Court (including the Bar Date Order), requests for payment of Administrative Expense Claims,
other than requests for payment of Fee Claims, must be filed and served on the Debtors no later



{00877883.DOCX;10 }                                11
17-22453-rdd            Doc 739     Filed 12/15/20 Entered 12/15/20 14:03:12       Main Document
                                                Pg 12 of 39



than the Administrative Expense Claims Bar Date pursuant to the procedures specified in the
notice of administrative bar date.
       Holders of Administrative Expense Claims that are required to file and serve a
request for payment of such Administrative Expense Claims and that do not file and serve
such a request by the Administrative Expense Claims Bar Date shall be forever barred,
estopped, and enjoined from asserting such Administrative Expense Claims against the
Debtors or their property, including the Properties, and Administrative Expense Claims
shall be deemed compromised, settled, and released as of the Effective Date. The Plan
Administrator must file and serve objections to Administrative Expense Claims on or before the
Administrative Expense Claims Objection Bar Date.

         2.2.         Fee Claims.
        All entities seeking an award by the Bankruptcy Court of Fee Claims shall file their
respective final applications for allowance of compensation for services rendered and
reimbursement of expenses incurred by the date that is sixty (60) days after the Effective Date.
No later than ten (10) days prior to the Effective Date, all entities holding claims for Fee Claims
shall serve upon EVF1, the Debtors and the Plan Administrator, a notice of the estimated amount
of their unpaid fees and expenses. The Plan Administrator is authorized to pay compensation for
services rendered or reimbursement of expenses incurred after the Effective Date in the ordinary
course and without the need for Bankruptcy Court approval.

         2.3.         Priority Tax Claims.
         Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a different
treatment, each holder of an Allowed Priority Tax Claim shall receive Cash in an amount equal
to such Allowed Priority Tax Claim on, or as soon thereafter as is reasonably practicable, the
later of the Effective Date, the first Business Day after the date that is thirty (30) calendar days
after the date such Priority Tax Claim becomes an Allowed Priority Tax Claim, and the date such
Allowed Priority Tax Claim is due and payable in the ordinary course.
SECTION 3.               CLASSIFICATION OF CLAIMS AND INTERESTS.
         3.1.         Classification in General.
        A Claim or Interest is placed in a particular Class for all purposes, including voting,
confirmation, and distribution under this Plan and under sections 1122 and 1123(a)(1) of the
Bankruptcy Code; provided that a Claim or Interest is placed in a particular Class for the purpose
of receiving distributions pursuant to this Plan only to the extent that such Claim or Interest is an
Allowed Claim or Allowed Interest in that Class and such Claim or Interest has not been
satisfied, released, or otherwise settled prior to the Effective Date.

         3.2.         Summary of Classification.
        The following table designates the Classes of Claims against and Interests in each of the
Debtors and specifies which of those Classes are (a) Impaired or Unimpaired by the Plan, (b)
entitled to vote to accept or reject the Plan in accordance with section 1126 of the Bankruptcy
Code and (c) deemed to reject the Plan. In accordance with section 1123(a)(1) of the Bankruptcy
Code, Administrative Expense Claims and Priority Tax Claims have not been classified and,


{00877883.DOCX;10 }                                12
17-22453-rdd            Doc 739    Filed 12/15/20 Entered 12/15/20 14:03:12         Main Document
                                               Pg 13 of 39



thus, are excluded from the classes of Claims and Interests set forth in this Section 3. All of the
potential Classes for each Debtor are set forth herein. The Debtors’ Chapter 11 Cases are jointly
administered and, on the Effective Date, will be deemed substantively consolidated in
accordance with the terms of this Plan. As a result, these six classes of Claims and Interests are
classes that pertain to each of the Debtors. The Debtors may not have holders of Claims or
Interests in a particular Class or Classes, and such Classes shall be treated as set forth in Section
3.4.

Class           Designation                             Treatment             Entitled to Vote
   1            Other Priority Claims                       Unimpaired                  No
                                                                               (presumed to accept)
     2          EVF1 Secured Claim                           Impaired                  Yes
     3          Other Secured Claims                        Unimpaired                  No
                                                                               (presumed to accept)
     4          General Unsecured Claims                     Impaired                  Yes
     5          Tenant Claims                                Impaired                  Yes
     6          Attorney General                            Unimpaired                  No
     7          Existing Equity Interests                    Impaired                  Yes
                                                                               (presumed to reject)


         3.3.         Special Provision Governing Unimpaired Claims.
        Except as otherwise provided in the Plan, nothing under the Plan shall affect the rights of
the Debtors or the Plan Administrator, as applicable, in respect of any Unimpaired Claims,
including all rights in respect of legal and equitable defenses to, or setoffs or recoupments
against, any such Unimpaired Claims.

         3.4.         Elimination of Vacant Classes.
        Any Class of Claims or Interests that, as of the commencement of the Confirmation
Hearing, does not have at least one holder of a Claim or Interest that is Allowed in an amount
greater than zero for voting purposes shall be considered vacant, deemed eliminated from the
Plan for purposes of voting to accept or reject the Plan, and disregarded for purposes of
determining whether the Plan satisfies section 1129(a)(8) of the Bankruptcy Code with respect to
that Class.

         3.5.         Voting Classes; Presumed Acceptance by Non-Voting Classes
        If a Class contains Claims or Interests eligible to vote and no holders of Claims or
Interests eligible to vote in such Class vote to accept or reject the Plan, the Debtors shall request
the Bankruptcy Court at the Confirmation Hearing to deem the Plan accepted by the holders of
such Claims or Interests in such Class.

         3.6.         Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy
                      Code




{00877883.DOCX;10 }                                    13
17-22453-rdd            Doc 739     Filed 12/15/20 Entered 12/15/20 14:03:12           Main Document
                                                Pg 14 of 39



        The Debtors shall seek Confirmation of the Plan pursuant to section 1129(b) of the
Bankruptcy Code with respect to any rejecting Class of Claims or Interests. The Debtors reserve
the right to modify the Plan, in accordance with Section 14 hereof to the extent, if any, that
Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification,
including by modifying the treatment applicable to a Class of Claims or Interests to render such
Class of Claims or Interests Unimpaired to the extent permitted by the Bankruptcy Code and the
Bankruptcy Rules.
SECTION 4.                  TREATMENT OF CLAIMS AND INTERESTS.

         4.1.         Other Priority Claims (Class 1).
                      (a)     Classification: Class 1 consists of Allowed Other Priority Claims against
the Debtors.
                (b)      Treatment: Except to the extent that a holder of an Allowed Other Priority
Claim against the Debtors has agreed to less favorable treatment of such Claim, each such holder
shall receive, in full and final satisfaction of such Claim, Cash from the Plan Fund in an amount
equal to such Claim, payable on the later of the Effective Date, the date on which such Other
Priority Claim becomes an Allowed Other Priority Claim, or when such claim becomes payable
in the ordinary course or as soon as reasonably practical thereafter.
                (c)   Voting: Class 1 is Unimpaired, and the holders of Other Priority Claims
are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Other Priority Claims are not entitled to vote to accept
or reject the Plan.

         4.2.         EVF1 Secured Claim (Class 2).
                (a)    Classification: Class 2 consists of the EVF1 Secured Claim. The EVF1
Secured Claim is a secured claim evidenced by (i) the EVF1 Notes, which are secured by the
EVF1 First Mortgage, the EVF1 Second Mortgage, the EVF1 Third Mortgage, the EVF1 Fourth
Mortgage and the EVF1 Fifth Mortgage, each of which constitute a valid-non-avoidable security
interest on the Properties. On the Effective Date, the EVF1 Secured Claim shall be deemed
Allowed.
                (b)    Treatment: EVF1 shall fund $3,125,000 to pay certain obligations under
the Plan, from the Effective Date Payments and the Post Effective Date Payments, not inclusive
of amounts due for Administrative Claims (except inclusive of the Manager Administrative
Claim which shall be paid from the Effective Date Payments and the Post Effective Date
Payments), Priority Tax Claims, Fee Claims and United States Trustee Fees, and, if necessary,
shall fund the Disputed Claim Reserve, and it or its designee or nominee will receive the
Properties and the Debtors’ Cash Collateral as of the Effective Date of the Plan in full and final
satisfaction of the EVF1 Secured Claim.
        The Properties and remaining Cash Collateral held by the Debtors’ Estates as of the
Effective Date are the only distributions to be made to EVF1 on account of the EVF1 Secured
Claim in full and final satisfaction of the Debtors’ obligations to EVF1 on account of the EVF1
Secured Claim, regardless of whether EVF1 or its nominee or designee elects to take title to the


{00877883.DOCX;10 }                                   14
17-22453-rdd            Doc 739    Filed 12/15/20 Entered 12/15/20 14:03:12          Main Document
                                               Pg 15 of 39



Properties (subject to the existing EVF1 Mortgages) free and clear of all liens, claims, interests
and encumbrances. Pursuant to Section 1146(a) of the Bankruptcy Code, any deed conveying
the Properties and any deed further conveying any of the Properties within two years
following EVF1 or its nominee or designee taking title to the Properties pursuant to this Plan
shall be an instrument of transfer in connection with or in furtherance of the Plan and shall
not be subject to tax under any law imposing a stamp tax, real estate Transfer Taxes,
mortgage recording tax or similar tax, and, to the extent provided by Section 1146(a) of the
Bankruptcy Code, if any, shall not be subject to any state, local or federal law imposing sales
tax.
                (c)     Voting: Class 2 is Impaired, and the holder of the EVF1 Secured Claim is
entitled to vote to accept or reject the Plan.

         4.3.         Other Secured Claims (Class 3).
               (a)     Classification: Class 3 consists of the Other Secured Claims. To the
extent that Other Secured Claims are secured by different collateral or different interests in the
same collateral, such Claims shall be treated as separate subclasses of Class 3.
               (b)     Treatment: Except to the extent that a holder of an Allowed Other
Secured Claim against the Debtors has agreed to less favorable treatment of such Claim, each
holder of an Allowed Other Secured Claim shall receive in full and final satisfaction of such
Allowed Class 3 Claim, at the option of the Plan Administrator, (i) payment in Cash from the
Plan Fund in the amount of such Allowed Claim payable on the later of the Effective Date and
the date on which such Other Secured Claim becomes an Allowed Claim, or as soon as
reasonably practical thereafter, (ii) delivery of the collateral securing such Allowed Other
Secured Claim and payment in Cash of any interest required under section 506(b) of the
Bankruptcy Code, or (iii) such other treatment necessary to satisfy sections 1124 and 1129 of
the Bankruptcy Code.
                (c)   Voting: Class 3 is Unimpaired, and the holders of Other Secured Claims
are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Other Secured Claims are not entitled to vote to accept
or reject the Plan.

         4.4.         General Unsecured Claims (Class 4).
                      (a)    Classification: Class 4 consists of General Unsecured Claims against the
Debtors.
               (b)     Treatment: In full and final satisfaction of Allowed General Unsecured
Claims, except to the extent that a holder of an Allowed General Unsecured Claim agrees to less
favorable treatment of such Allowed General Unsecured Claim or has been paid before the
Effective Date, each holder of an Allowed General Unsecured Claim shall receive a distribution
of approximately 25% of their Allowed General Unsecured Claim, subject only to payment of
any claim senior in priority pursuant to the Bankruptcy Code, payable as follows:
        Approximately 12.5% to be paid from the Plan Fund on the Effective Date from the
Effective Date Payments and the remaining approximately 12.5% from the Plan Fund payable in


{00877883.DOCX;10 }                                  15
17-22453-rdd            Doc 739     Filed 12/15/20 Entered 12/15/20 14:03:12          Main Document
                                                Pg 16 of 39



installments upon the sales of each of the Properties from the Post Effective Date Payments as
set forth herein. The sum of $250,000 will be reserved from each sale transaction for the
remaining amounts due to holders of Allowed General Unsecured Claims, Allowed Tenant
Claims and the Manager Administrative Claim and a pro rata distribution made to each holder of
an Allowed General Unsecured Claim, Allowed Tenant Claim and the Manager Administrative
Claim from the $250,000 fund until the remaining approximately 12.5% distribution has been
completed, which shall be from the Post Effective Date Payments. In the event no sales have
occurred or there is a remaining balance due, it shall be payable by EVF1 from the Post Effective
Date Payments, less any payments made from the sales of the Properties no later than July 1,
2022.
               (d)      Voting: Class 4 is Impaired and holders of General Unsecured Claims in
Class 4 are entitled to vote to accept or reject the Plan.

         4.5.         Tenant Claims (Class 5).
                      (a)    Classification: Class 5 consists of Tenant Claims against the Debtors.
                (b)     Treatment: In full and final satisfaction of Allowed Tenant Claims, except
to the extent that a holder of an Allowed Tenant Claim agrees to less favorable treatment of such
Allowed Tenant Claim or has been paid before the Effective Date, each holder of an Allowed
Tenant Claim shall receive a distribution of approximately 25% of their Allowed Tenant Claim,
subject only to payment of any claim senior in priority pursuant to the Bankruptcy Code,
payable as follows:
        Approximately 12.5% to be paid from the Plan Fund on the Effective Date from the Post
Effective Date Payments and the remaining approximately 12.5% from the Plan Fund payable in
installments upon the sales of each of the Properties from the Post Effective Date Payments as
set forth herein. The sum of $250,000 will be reserved from each sale transaction for the
remaining amounts due to holders of Allowed General Unsecured Claims, Allowed Tenant
Claims and the Manager Administrative Claim and a pro rata distribution made to each holder of
an Allowed General Unsecured Claim, Allowed Tenant Claim and the Manager Administrative
Claim from the $250,000 fund until the remaining approximately 12.5% distribution has been
completed, which shall be from the Post Effective Date Payments. In the event no sales have
occurred or there is a remaining balance due, it shall be payable by EVF1, from the Post
Effective Date Payments, less any payments made from the sales of the Properties no later than
July 1, 2022. Tenants will also be receiving a rent credit related to the Settlement Agreement.
                 (c)    Voting: Class 5 is Impaired and the holders of the Tenant Claims in Class
5 are entitled to vote to accept or reject the Plan.

         4.6.         Attorney General Unsecured Claim (Class 6).
                      (a) Classification. Class 6 consists of the Attorney General Unsecured Claim
                      (b) Treatment: The Attorney General will receive $150,000 on account of the AG
                          Claim in accordance with the 9019 Motion approving the Settlement
                          Agreement paid from the Effective Date Payments.



{00877883.DOCX;10 }                                   16
17-22453-rdd            Doc 739      Filed 12/15/20 Entered 12/15/20 14:03:12            Main Document
                                                 Pg 17 of 39



                      (c) Voting. Class 6 is unimpaired and is conclusively presumed to have accepted
                          the Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore, the
                          holder of the Attorney General Unsecured Claim is not entitled to vote to
                          accept or reject the Plan.

         4.7.         Existing Equity Interests (Class 7).
                      (a)     Classification: Class 7 consists of Existing Equity Interests in the
Debtors.
                (b)     Treatment: On the Effective Date, or as soon thereafter as is reasonably
practicable, Equity Interests in the Debtors will be cancelled and holders of Existing Equity
Interests will not receive any recovery on account of their Equity Interests.
               (c)     Voting: Class 7 is Impaired by the Plan and is conclusively presumed to
have rejected the Plan pursuant to 1126(g) of the Bankruptcy Code.
SECTION 5.                  MEANS FOR IMPLEMENTATION.

         5.1.         Substantive Consolidation.
         On the Effective Date, the Chapter 11 Cases and the Debtors and their Estates shall be
deemed to be substantively consolidated for purposes of implementing the Plan. The assets and
liabilities of the Debtors shall be pooled and all claims shall be satisfied from the assets of a
single consolidated Estate. Any Claims against one or more of the Debtors based upon a
guaranty, indemnity, co-signature, surety or otherwise, or Claims against another Debtor shall be
treated as a single Claim against the consolidated Estate of the Debtors and shall be entitled to
distributions under the Plan only with respect to such single Claim.

         5.2.         Cancellation of Intercompany Claims.
       On the Effective date, all Claims by any Debtor against any other Debtor shall be
extinguished.

         5.3.         Purchase Agreement
        The Confirmation Order and/or Sale Order shall authorize the sale of the Properties to
EVF1 or its nominee or designee under sections 363, 365, 1123(b)(4), 1129(b)(2)(A)(iii) and
1146(a) of the Bankruptcy Code in accordance with the Purchase Agreement. The form of
Purchase Agreement was filed with the Plan Supplement on August 11, 2017 (ECF doc. no.
188). The final PSA between the Debtors and EVF1 or its nominee or designee will be filed
prior to the Confirmation Hearing.

         5.4.         Bidding Procedures
        There were no third party bidders for the Properties pursuant to the Bidding Procedures.
The ultimate purchaser of the Properties will be EVF1 or its nominee or designee.

         5.5.         Plan Fund.



{00877883.DOCX;10 }                                    17
17-22453-rdd            Doc 739    Filed 12/15/20 Entered 12/15/20 14:03:12       Main Document
                                               Pg 18 of 39



         The Plan Fund is the Cash consideration to be provided by EVF1 to the Plan
Administrator as part of the consideration for the transfer of the Properties. It is comprised of
$3,125,000 (not inclusive of amounts due for Administrative Claims, except for the Manager
Administrative Claim, Priority Tax Claims, Fee Claims and United States Trustee Fees) plus the
$125,000 Disputed Claim Reserve, if necessary, of which $1,487,500 will be paid on or before
the Effective Date and with respect to payments due to holders of Allowed General Unsecured
Claims and Tenant Claims, if any, and the Manager Administrative Claim will be supplemented,
if, as and when required, after the Effective Date by the $1,487,500 Post Effective Date
Payments.

         5.6.         Plan Administrator.
               (a)     Appointment. David Goldwasser shall serve as Plan Administrator for the
Debtors until the closing of the Chapter11 Cases. The Plan Administrator shall be compensated
and shall receive a reasonable expense reimbursement both of which shall be the responsibility
of and funded by EVF1. Certain of the Plan Administrator’s fees will be paid pro rata from the
proceeds of any post Effective Date sale of the Properties as set forth in the treatment of Class 4
and Class 5 Claims.
               (b)    Authority. Subject to Section 6.2 of the Plan, the Plan Administrator shall
have the authority and right on behalf of the Debtors, without the need for Bankruptcy Court
approval (unless otherwise indicated), to carry out and implement all provisions of the Plan,
including, without limitation, to:
                       (i)    except to the extent Claims have been previously Allowed, to
         implement a claims reconciliation process, including to object to, seek to subordinate,
         estimate, compromise or settle any and all Claims against the Debtors;
                       (ii)   to advise the Debtors to make Distributions to holders of Allowed
         Claims in accordance with the Plan and the claims reconciliation process;
                         (iii) exercise its reasonable business judgment to direct and control the
         sale of the Properties to the extent not already completed; to direct the wind down,
         liquidation, sale and/or abandoning of the remaining assets, if any, of the Debtors under
         the Plan and in accordance with applicable law;
                        (iv)   prosecute all Causes of Action on behalf of the Debtors, elect not
         to pursue any Causes of Action, and determine whether and when to compromise, settle,
         abandon, dismiss, or otherwise dispose of any such Causes of Action, as the Plan
         Administrator may determine is in the best interests of the Debtors;
                        (v)     make payments to existing professionals who will continue to
         perform in their current capacities;
                         (vi)  retain Robinson Brog Leinwand Greene Genovese & Gluck P.C.
         and Goldberg Weprin Finkel Goldstein as co-counsel, along with such other professional,
         if any, as the Plan Administrator deems necessary, to assist him in performing his duties
         under the Plan;



{00877883.DOCX;10 }                               18
17-22453-rdd            Doc 739     Filed 12/15/20 Entered 12/15/20 14:03:12          Main Document
                                                Pg 19 of 39



                            (vii)   maintain the books and records and accounts of the Debtors;
                        (viii) invest Cash of the Debtors, including any Cash proceeds realized
         from the liquidation of any assets of the Debtors, including any Causes of Action, and
         any income earned thereon;
                        (ix)    incur and pay reasonable and necessary expenses in connection
         with the performance of duties under the Plan, including the reasonable fees and expenses
         of professionals retained by the Plan Administrator;
                          (x)   administer the Debtors’ tax obligations, including (i) filing tax
         returns and paying tax obligations, (ii) requesting, if necessary, an expedited
         determination of any unpaid tax liability of the Debtors or their Estates under Bankruptcy
         Code section 505(b) for all taxable periods of the Debtors ending after the
         Commencement Date through the liquidation of the Debtors as determined under
         applicable tax laws, and (iii) representing the interest and account of the Debtors or their
         Estates before any taxing authority in all matters including, without limitation, any
         action, suit, proceeding or audit;
                        (xi)    prepare and file any and all informational returns, reports,
         statements, returns or disclosures relating to the Debtors that are required hereunder, by
         any Governmental Unit or applicable law;
                            (xii)   pay statutory fees in accordance with Section 14.1 of the Plan; and
                      (xiii) perform other duties and functions that are consistent with the
         implementation of the Plan.

         5.7.         Other Transactions.
        In the discretion of the Plan Administrator on behalf of the Debtors, after the Effective
Date, the Debtors may engage in any other transaction in furtherance of the Plan. Any such
transactions may be effective as of the Effective Date pursuant to the Confirmation Order
without any further action by the members of the Debtors.

         5.8.         Withholding and Reporting Requirements.
                (a)     Withholding Rights. In connection with the Plan, any party, including the
Plan Administrator, issuing any instrument or making any distribution described in the Plan shall
comply with all applicable withholding and reporting requirements imposed by any federal, state,
or local taxing authority, and all distributions pursuant to the Plan and all related agreements
shall be subject to any such withholding or reporting requirements. Notwithstanding the
foregoing, each holder of an Allowed Claim or any other Person that receives a distribution
pursuant to the Plan shall have responsibility for any taxes imposed by any Governmental Unit,
including, without limitation, income, withholding, and other taxes, on account of such
distribution. Any party issuing any instrument or making any distribution pursuant to the Plan
has the right, but not the obligation, to not make a distribution until such holder has made
arrangements satisfactory to such issuing or disbursing party for payment of any such tax
obligations.


{00877883.DOCX;10 }                                  19
17-22453-rdd            Doc 739   Filed 12/15/20 Entered 12/15/20 14:03:12        Main Document
                                              Pg 20 of 39



                (b)      Forms. Any party entitled to receive any property as an issuance or
distribution under the Plan shall, upon request, deliver to the Plan Administrator or such other
Person designated by the Plan Administrator (which entity shall subsequently deliver to the Plan
Administrator any applicable IRS Form W-8 or Form W-9 received) an appropriate Form W-9 or
(if the payee is a foreign Person) Form W-8, unless such Person is exempt under the tax Code
and so notifies the Plan Administrator. If such request is made by the Plan Administrator or such
other Person designated by the Plan Administrator and the holder fails to comply before the date
that is 180 days after the request is made, the amount of such distribution shall irrevocably revert
to the Debtors for further distribution in accordance with the Plan and any Claim in respect of
such distribution shall be discharged and forever barred from assertion against any Debtors and
its respective Properties.

         5.9.         Exemption From Certain Transfer Taxes.
        To the maximum extent provided by section 1146(a) of the Bankruptcy Code, the
issuance, transfer, or exchange of any security and the making or delivery of any instrument of
transfer under this Plan as confirmed by the Court (including an instrument of transfer executed
in furtherance of the sale of the Properties contemplated by the Plan), shall not be subject to tax
under any law imposing a stamp tax, real estate transfer tax, mortgage recording tax or similar
tax due on the sale of the Properties in connection with or in furtherance of the Plan as confirmed
by the Court and the funding requirements contained herein and shall not be subject to any state,
local or federal law imposing such tax and the appropriate state or local government officials or
agents shall forego collection of any such tax or governmental assessment and accept for filing
and recordation any of the foregoing instruments or other documents without the payment of any
such tax or governmental assessment.
        Pursuant to Section 1146(a) of the Bankruptcy Code, any deed conveying the
Properties in and any deed further conveying any of the Properties, within two years
following the sale by EVF1 or its nominee or designee shall be an instrument of transfer in
connection with or in furtherance of the Plan and shall not be subject to tax under any law
imposing a stamp tax, real estate Transfer Taxes, mortgage recording tax or similar tax, and,
to the extent provided by Section 1146(a) of the Bankruptcy Code, if any, shall not be
subject to any state, local or federal law imposing sales tax.

         5.10. Effectuating Documents; Further Transactions.
        On and after the Effective Date, the Plan Administrator is authorized to and may issue,
execute, deliver, file or record such contracts, securities, instruments, releases, and other
agreements or documents and take such actions as may be necessary or appropriate to effectuate,
implement and further evidence the terms and conditions of the Plan in the name of and on
behalf of the Debtors, without the need for any approvals, authorization, or consents except for
those expressly required pursuant to the Plan.

         5.11. Preservation of Rights of Action.
       Other than Causes of Action against an Entity that are waived, relinquished, exculpated,
released, compromised, or settled in the Plan or by a Bankruptcy Court order, the Debtors
reserve any and all Causes of Action. On and after the Effective Date, the Plan Administrator


{00877883.DOCX;10 }                               20
17-22453-rdd          Doc 739   Filed 12/15/20 Entered 12/15/20 14:03:12         Main Document
                                            Pg 21 of 39



may pursue such Causes of Action in its sole discretion. No Entity may rely on the absence of a
specific reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of
Action against them as any indication that the Debtors or the Plan Administrator will not pursue
any and all available Causes of Action against them. No preclusion doctrine, including the
doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion (judicial,
equitable, or otherwise), or laches, shall apply to such Causes of Action upon, after, or as a
consequence of the Confirmation or Consummation. Prior to the Effective Date, the Debtors, and
on and after the Effective Date, the Plan Administrator, shall retain and shall have, including
through its authorized agents or representatives, the exclusive right, authority, and discretion to
determine and to initiate, file, prosecute, enforce, abandon, settle, compromise, release,
withdraw, or litigate to judgment any such Causes of Action and to decline to do any of the
foregoing without the consent or approval of any third party or further notice to or action, order,
or approval of the Bankruptcy Court. Notwithstanding anything contained herein to the contrary,
the settlement of any Claims and Causes of Action which are expressly to be settled by
Confirmation of the Plan itself shall be resolved only by Confirmation of the Plan itself. Any
recovery by the Plan Administrator with respect to a Claim settlement or preserved Cause of
Action shall first be utilized to pay any fees and expenses incurred in connection with the
prosecution or resolution of the Claim resolution or Cause of action and any remaining recovery
shall be added to the Plan Fund for pro rata distribution to holders of Allowed General
Unsecured Claims and Tenant Claims, if any, under the Plan.

         5.12. Cancellation of Notes, Instruments, Debentures and Equity securities.
        On the Effective Date, all notes, instruments, debentures, certificates and other
documents evidencing Claims and all Interests in any of the Debtors shall be canceled and
deemed terminated and surrendered (regardless of whether such notes, instruments, debentures,
certificates or other documents are in fact surrendered for a cancellation to the appropriate
indenture trustee or other such person), except for purposes of distribution in accordance with the
terms of this Plan, provided however, that at its election, EVF1 or its nominee or designee, may
elect to take title of the Properties subject to the existing EVF1 Mortgages, which EVF1
Mortgages may be assigned to any such nominee’s or designee’s lender. In the event EVF1 or
its nominee or designee elects to take title to the Properties subject to the existing EVF1
Mortgages, Debtors shall have no further financial obligation to EVF1 or any assignee of the
EVF1 Mortgages and shall be released from any and all liability to EVF1 or any assignee upon
the Closing.

         5.13. Reserves.
       Any reserves maintained by the Debtors or the Plan Administrator, as the case may be, in
connection with the distribution of funds on account of Allowed Claims, may be maintained by
bookkeeping entries alone; the Debtors or the Plan Administrator, as the case may be, need not
(but may) establish separate bank accounts for such purposes.

         5.14. Termination of Plan Administrator.
       The duties, responsibilities and powers of the Plan Administrator shall terminate upon the
closing of the Chapter 11 Cases.



{00877883.DOCX;10 }                             21
17-22453-rdd            Doc 739    Filed 12/15/20 Entered 12/15/20 14:03:12       Main Document
                                               Pg 22 of 39



         5.15. Closing of the Chapter 11 Cases.
       After the Debtors’ Chapter 11 Cases have been fully administered, the Plan
Administrator shall seek authority from the Bankruptcy Court to file a final decree and close the
Debtors’ Chapter 11 Cases in accordance with the Bankruptcy Code and the Bankruptcy Rules.
SECTION 6.               GOVERNANCE

         6.1.         Limited Liability Company Existence.
        After the Effective Date, the Plan Administrator shall, at such time as the Plan
Administrator considers appropriate and consistent with the implementation of the Plan
pertaining to the Debtors, dissolve the Debtors and complete the winding down of such Debtors
without the necessity for any other or further actions to be taken by or on behalf of the Debtors
or their members or any payments to be made in connection therewith subject to the filing of a
certificate of dissolution with the appropriate governmental authorities.
         6. 2 Wind Down
        After the Effective Date, pursuant to the Plan, the Plan Administrator shall wind-down,
sell and otherwise liquidate the remaining assets of the Debtors. The wind-down, sale and
liquidation of the Debtors’ assets (as determined for federal income tax purposes) shall occur
over a period not to exceed twelve (12) months after the closing of the Sale of the Properties.
         6.3 Certificate of Organization and By-Laws.
       As of the Effective Date, only if necessary, the certificate of organization and by-laws of
the Debtors shall be amended to the extent necessary to carry out the provisions of the Plan.
SECTION 7.               DISTRIBUTIONS.

         7.1.         Distribution Record Date.
        As of the close of business on the Distribution Record Date, the transfer register for each
of the Classes of Claims or Interests as maintained by the Debtors shall be deemed closed, and
there shall be no further changes in the record of holders of any of the Claims or Interests. The
Debtors or the Plan Administrator shall have no obligation to recognize any transfer of the
Claims or Interests occurring on or after the Distribution Record Date.

         7.2.         Date of Distributions
         Except as otherwise provided herein, the Debtors or the Plan Administrator shall make
the Initial Distribution to holders of Allowed General Unsecured Claims and Tenant Claims, if
any, no later than the Initial Distribution Date. Thereafter, EVF1 or the Plan Administrator
shall make the remaining distributions to holders of Allowed General Unsecured Claims and
Tenant Claims, if any, in accordance with the treatment set forth in this Plan. In the event that
any payment or act under the Plan is required to be made or performed on a date that is not a
Business Day, then the making of such payment or the performance of such act may be
completed on or as soon as reasonably practicable after the next succeeding Business Day, but
shall be deemed to have been completed as of the required date.


{00877883.DOCX;10 }                                 22
17-22453-rdd            Doc 739     Filed 12/15/20 Entered 12/15/20 14:03:12     Main Document
                                                Pg 23 of 39



        EVF1 shall reserve an amount sufficient to pay holders of Disputed Claims the amount
such holders would be entitled to receive under the Plan if such Claims were to become Allowed
Claims. In the event the holders of Allowed Claims have not received payment in the full amount
they would be entitled to receive under the Plan on account of their Claims after the resolution of
all Disputed Claims, then EVF1 or the Plan Administrator shall make a final distribution to all
holders of Allowed Claims.
        Notwithstanding anything to the contrary in the Plan, no holder of an Allowed Claim
shall, on account of such Allowed Claim, receive a distribution in excess of the Allowed amount
of such Claim plus any interest accruing on such Claim that is actually payable in accordance
with the Plan.

         7.3.         Delivery of Distributions.
        In the event that any distribution to any holder is returned as undeliverable, no
distribution to such holder shall be made unless and until the Debtors or the Plan Administrator,
as applicable, have determined the then current address of such holder, at which time such
distribution shall be made to such holder without Interest; provided, however, such distributions
shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code at the
expiration of six months from the date the Initial Distribution is made. After such date, all
unclaimed property or interests in property shall revert (notwithstanding any applicable federal
or state escheat, abandoned, or unclaimed property laws to the contrary) to the Debtors
automatically and without need for a further order by the Bankruptcy Court for distribution in
accordance with the Plan and the Claim of any such holder to such property or interest in
property shall be released, settled, compromised, and forever barred. The Plan Administrator
shall have no obligation to locate the current address for a returned distribution.

         7.4.         Manner of Payment Under Plan.
       At the option of the Debtors or the Plan Administrator, any Cash payment to be made
hereunder may be made by a check or wire transfer.

         7.5.         Minimum Cash Distributions.
        The Plan Administrator shall not be required to make any payment to any holder of an
Allowed Claim on any Distribution Date of Cash less than $100; provided, however, that if any
distribution is not made pursuant to this Section 6.6, such distribution shall be added to any
subsequent distribution to be made on behalf of the holder’s Allowed Claim. The Plan
Administrator shall not be required to make any final distributions of Cash less than $50 to any
holder of an Allowed Claim. If either (a) all Allowed Claims (other than those whose
distributions are deemed undeliverable hereunder) have been paid in full or (b) the amount of
any final distributions to holders of Allowed Claims would be $50 or less and the aggregate
amount of Cash available for distributions to holders of Allowed General Unsecured Claims is
less than $2,500, then no further distribution shall be made by the Plan Administrator and any
surplus Cash shall be utilized to pay down any unpaid legal fees incurred by Debtors’ counsel
post-confirmation.

         7.6.         Setoffs.



{00877883.DOCX;10 }                                 23
17-22453-rdd            Doc 739     Filed 12/15/20 Entered 12/15/20 14:03:12        Main Document
                                                Pg 24 of 39



       The Debtors and the Plan Administrator may, but shall not be required to, set off against
any Claim, any Claims of any nature whatsoever that the Debtors or the Plan Administrator may
have against the holder of such Claim; provided that neither the failure to do so nor the
allowance of any Claim hereunder shall constitute a waiver or release by the Debtors or the Plan
Administrator of any such Claim the Debtors or the Plan Administrator may have against the
holder of such Claim.

         7.7.         Distributions After Effective Date.
      Distributions made after the Effective Date to holders of Disputed Claims that are not
Allowed Claims as of the Effective Date but which later become Allowed Claims shall be
deemed to have been made on the Effective Date.

         7.8.         Allocation of Distributions Between Principal and Interest.
        Except as otherwise provided in this Plan, to the extent that any Allowed Claim entitled
to a distribution under the Plan is comprised of indebtedness and accrued but unpaid interest
thereon, such distribution shall be allocated to the principal amount (as determined for U.S.
federal income tax purposes) of the Claim first, and then to accrued but unpaid interest.

         7.9.         Payment of Disputed Claims
         As Disputed Claims are resolved pursuant to Section 8 hereof, the Plan Administrator
shall advise EVF1 to pay directly or to fund the amounts needed for the Plan Administrator to
make distributions on account of such Disputed Claims as if such Disputed Claims were Allowed
Claims as of the Effective Date. Such distributions shall be made on the first Distribution Date
that is at least forty-five (45) days after the date on which a Disputed Claim becomes an Allowed
Claim, or on an earlier date selected by the Plan Administrator in the Plan Administrator’s sole
discretion.
SECTION 8.               PROCEDURES FOR DISPUTED CLAIMS.

         8.1.         Allowance of Claims.
        After the Effective Date, the Debtors or the Plan Administrator shall have and shall retain
any and all rights and defenses that the Debtors had with respect to any Claim, except with
respect to any Claim deemed Allowed under this Plan. Except as expressly provided in this Plan
or in any order entered in the Chapter 11 Cases prior to the Effective Date (including, without
limitation, the Confirmation Order), no Claim shall become an Allowed Claim unless and until
such Claim is so deemed under this Plan or the Bankruptcy Code or the Bankruptcy Court has
entered a Final Order, including, without limitation, the Confirmation Order, in the Chapter 11
Cases allowing such Claim.

         8.2.         Objections to Claims.
         As of the Effective Date, objections to and requests for estimation of, Claims against the
Debtors may be interposed and prosecuted only by the Plan Administrator. Such objections and
requests for estimation shall be served and filed (a) on or before the 120th day following the later
of (i) the Effective Date and (ii) the date that a proof of Claim is filed or amended or a Claim is


{00877883.DOCX;10 }                                   24
17-22453-rdd            Doc 739    Filed 12/15/20 Entered 12/15/20 14:03:12       Main Document
                                               Pg 25 of 39



otherwise asserted or amended in writing by or on behalf of a holder of such Claim, or (b) such
later date as ordered by the Bankruptcy Court upon motion filed by the Plan Administrator.

         8.3.         Estimation of Claims.
        The Plan Administrator may at any time request that the Bankruptcy Court estimate any
contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of the Bankruptcy Code
regardless of whether the Debtors or Plan Administrator previously objected to such Claim or
whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court will
retain jurisdiction to estimate any Claim at any time during litigation concerning any objection to
any Claim, including, without limitation, during the pendency of any appeal relating to any such
objection. In the event that the Bankruptcy Court estimates any contingent, unliquidated, or
Disputed Claim, the amount so estimated shall constitute either the Allowed amount of such
Claim or a maximum limitation on such Claim, as determined by the Bankruptcy Court. If the
estimated amount constitutes a maximum limitation on the amount of such Claim, the Debtors or
Plan Administrator, as applicable, may pursue supplementary proceedings to object to the
allowance of such Claim. All of the aforementioned objection, estimation and resolution
procedures are intended to be cumulative and not exclusive of one another. Claims may be
estimated and subsequently compromised, settled, withdrawn, or resolved by any mechanism
approved by the Bankruptcy Court.

         8.4.         No Distributions Pending Allowance.
       If an objection to a Claim is filed as set forth in Section 8, no payment or distribution
provided under the Plan shall be made on account of such Claim unless and until such Disputed
Claim becomes an Allowed Claim.

         8.5.         Resolution of Claims.
        Except as otherwise provided herein, or in any contract, instrument, release, indenture, or
other agreement or document entered into in connection with this Plan, in accordance with
section 1123(b) of the Bankruptcy Code, the Plan Administrator shall retain and may enforce,
sue on, settle, or compromise (or decline to do any of the foregoing) all Claims, Disputed
Claims, rights, Causes of Action, suits and proceedings, whether in law or in equity, whether
known or unknown, that the Debtors or their Estates may hold against any Person, without the
approval of the Bankruptcy Court, the Confirmation Order, and any contract, instrument, release,
indenture, or other agreement entered into in connection herewith. The Plan Administrator or its
successor may pursue such retained Claims, rights, Causes of Action, suits or proceedings, as
appropriate, in accordance with the best interests of the Debtors.

         8.6.         Disallowed Claims.
        All Claims held by persons or entities against whom or which any of the Debtors or the
Plan Administrator has commenced a proceeding asserting a Cause of Action under sections 542,
543, 544, 545, 547, 548, 549 and/or 550 of the Bankruptcy Code shall be deemed “disallowed”
Claims pursuant to section 502(d) of the Bankruptcy Code and holders of such Claims shall not
be entitled to vote to accept or reject the Plan. Claims that are deemed disallowed pursuant to this
section shall continue to be disallowed for all purposes until the Avoidance Action against such



{00877883.DOCX;10 }                                25
17-22453-rdd            Doc 739    Filed 12/15/20 Entered 12/15/20 14:03:12       Main Document
                                               Pg 26 of 39



party has been settled or resolved by Final Order and any sums due to the Debtors or the Plan
Administrator from such party have been paid.
SECTION 9.               EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

         9.1.         Assumption and Assignment of Executory Contracts and Unexpired Leases
        On the Effective Date, except as otherwise provided in the Plan, each Executory Contract
and Unexpired Lease not previously rejected, assumed, or assumed and assigned, including all
tenant leases, shall be deemed automatically assumed pursuant to sections 365 and 1123 of the
Bankruptcy Code, and assigned to the Purchaser of the Properties unless such Executory
Contract or Unexpired Lease: (1) is specifically described in the Purchase Agreement as being
rejected in connection with Confirmation of the Plan or under the Purchase Agreement; (2) as of
the Effective Date is subject to a pending motion to reject such Unexpired Lease or Executory
Contract; (3) was previously assumed or assumed and assigned to a third party during the
pendency of the Chapter 11 Cases; or (4) is a contract, instrument, release, indenture, or other
agreement or document entered into in connection with the Plan.

         9.2.         Cure of Defaults for Assumed Executory Contracts and Unexpired Leases
       Any Cure Obligation due under each Executory Contract and Unexpired Lease to be
assumed pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy
Code, by payment in Cash on the Effective Date, subject to the limitation described below, by
the Debtors as an Administrative Claim or by EVF1, or its nominee or designee, as applicable, or
on such other terms as the parties to such Executory Contracts or Unexpired Leases may
otherwise agree.
        In the event of a dispute regarding (1) the amount of the Cure Obligation, (2) the ability
of the Debtors’ Estates or any assignee to provide “adequate assurance of future performance”
(within the meaning of section 365 of the Bankruptcy Code) under the Executory Contract or
Unexpired Lease to be assumed, or (3) any other matter pertaining to assumption, the Cure
Obligations required by section 365(b)(1) of the Bankruptcy Code shall be satisfied following
the entry of a Final Order or orders resolving the dispute and approving the assumption; provided
that, depending on whether the Plan Administrator or EVF1 or its nominee or designee has the
obligation to pay the Cure Obligation, such party may settle any dispute regarding the amount of
any Cure Obligation without any further notice to any party or any action, order, or approval of
the Bankruptcy Court.
        Notice of proposed cure obligations was previously served. In the event the notice
requires modification, at least fourteen (14) days before the Confirmation Hearing, the Debtors,
with the consent of EVF1, which consent shall not be unreasonably withheld, shall cause an
amended notice of proposed Cure Obligations to be sent to applicable counterparties to the
Executory Contracts and Unexpired Leases. Any objection by such counterparty must be filed,
served, and actually received by the Debtors not later than ten (10) days after service of notice of
the Debtors’ proposed assumption and associated Cure Obligation. Any counterparty to an
Executory Contract or Unexpired Lease that fails to object timely to the proposed cure amount
will be deemed to have assented to such Cure Obligation.




{00877883.DOCX;10 }                                26
17-22453-rdd            Doc 739    Filed 12/15/20 Entered 12/15/20 14:03:12      Main Document
                                               Pg 27 of 39



        Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan, or
otherwise, shall result in the full release and satisfaction of any Claims or defaults, subject to
satisfaction of the Cure Obligations, whether monetary or nonmonetary, including defaults of
provisions restricting the change in control or ownership interest composition or other
bankruptcy-related defaults, arising under any assumed Executory Contract or Unexpired Lease
at any time before the Effective Date of assumption and/or assignment. Any prepetition default
amount set forth in the Schedules and/or any Proofs of Claim filed with respect to an
Executory Contract or Unexpired Lease that has been assumed and assigned shall be
deemed disallowed and expunged, without further notice to or action, order, or approval of
the Bankruptcy Court or any other Entity.

         9.3.         Claims Based on Rejection of Executory Contracts and Unexpired Leases
        Unless otherwise provided by an order of the Bankruptcy Court, any Proofs of Claim
based on the rejection of the Debtors’ Executory Contracts or Unexpired Leases pursuant to the
Plan or otherwise, must be filed with Bankruptcy Court and served on the Plan Administrator no
later than fourteen (14) days after the earlier of the Effective Date or the effective date of
rejection of such Executory Contract or Unexpired Lease. In addition, any objection to the
rejection of an Executory Contract or Unexpired Lease must be filed with the Bankruptcy Court
and served on the Debtors no later than fourteen (14) days after service of the Debtors’ proposed
rejection of such Executory Contract or Unexpired Lease.
        Any holders of Claims arising from the rejection of an Executory Contract or
Unexpired Lease for which Proofs of Claims were not timely filed as set forth in the
paragraph above shall not (1) be treated as a creditor with respect to such Claim, (2) be
permitted to vote to accept or reject the Plan on account of any Claim arising from such
rejection, or (3) participate in any distribution in the Chapter 11 Cases on account of such
Claim, and any Claims arising from the rejection of an Executory Contract or Unexpired
Lease not filed with the Bankruptcy Court within such time will be automatically
disallowed, forever barred from assertion, and shall not be enforceable against the Debtors,
the Plan Administrator, the Debtors’ Estates, or the property of any of the foregoing
without the need for any objection by the Plan Administrator or further notice to, or
action, order, or approval of the Bankruptcy Court or any other Entity, and any Claim
arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed
fully compromised, settled, and released, notwithstanding anything in the Schedules or a
Proof of Claim to the contrary. All Allowed Claims arising from the rejection of the Debtors’
prepetition Executory Contracts or prepetition Unexpired Leases shall be classified as General
Unsecured Claims, except as otherwise provided by order of the Bankruptcy Court.

         9.4.         Purchase Agreement
        The Debtors’ assumption or rejection of any Executory Contract or Unexpired Lease
pursuant to the Plan shall be subject in all respects to EVF1 or its nominee or designee’s rights
and obligations, including any Cure Obligations assumed by it in accordance with the Purchase
Agreement, with respect to any such Executory Contracts or Unexpired Leases assigned to EVF1
or its nominee or designee pursuant to the terms of the Purchase Agreement.

         9.5.         Modifications, Amendments, Supplements, Restatements, or Other Agreements


{00877883.DOCX;10 }                                27
17-22453-rdd            Doc 739    Filed 12/15/20 Entered 12/15/20 14:03:12      Main Document
                                               Pg 28 of 39



        Unless otherwise provided in the Plan, each assumed Executory Contract or Unexpired
Lease shall include all modifications, amendments, supplements, restatements, or other
agreements that in any manner affect such Executory Contract or Unexpired Lease, and all
Executory Contracts and Unexpired Leases related thereto, if any, including all easements,
licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other
interests, unless any of the foregoing agreements has been previously rejected or repudiated or is
rejected or repudiated under the Plan.
       Modifications, amendments, supplements, and restatements to prepetition Executory
Contracts and Unexpired Leases that have been executed by the Debtors during the Chapter 11
Cases shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired
Lease, or the validity, priority, or amount of any Claims that may arise in connection therewith.

         9.6.         Reservation of Rights
       Neither the exclusion nor inclusion of any contract or lease in the Plan Supplement, nor
anything contained in the Plan, shall constitute an admission by the Debtors that any such
contract or lease is in fact an Executory Contract or Unexpired Lease or that the Debtors’ Estates
have any liability there under. In the event of a dispute regarding whether a contract or lease is
or was executory or unexpired at the time of assumption or rejection, the Debtors or the Plan
Administrator, as applicable, shall have 60 days following entry of a Final Order resolving such
dispute to alter the treatment of such contract or lease as otherwise provided in the Plan.
SECTION 10.              [Intentionally Omitted]
SECTION 11.              CONDITIONS TO THE EFFECTIVE DATE.

         11.1. Condition to the Confirmation Hearing
         [Intentionally Omitted]

         11.2. Conditions Precedent to the Effective Date.
       The occurrence of the Effective Date of the Plan is subject to the following conditions
precedent:
             (a)     the Bankruptcy Court shall have entered the Confirmation Order, the
Confirmation Date shall have occurred and the Confirmation Order shall not be subject to any
stay;
             (b)      EVF1 has established the Plan Fund or has transferred the Plan Fund to
the Plan Administrator;
               (c)    all actions, documents and agreements necessary to implement and
consummate the Plan, including, without limitation, entry into the documents contained in the
Plan Supplement required to be executed prior to the Confirmation Date, each in form and
substance reasonably satisfactory to the Debtors and EVF1, and the transactions and other
matters contemplated thereby, shall have been effected or executed;




{00877883.DOCX;10 }                                28
17-22453-rdd            Doc 739      Filed 12/15/20 Entered 12/15/20 14:03:12            Main Document
                                                 Pg 29 of 39



                (d)      all governmental and third party approvals and consents, including
Bankruptcy Court approval, necessary in connection with the transactions contemplated by the
Plan, if any, shall be in full force and effect, and all applicable waiting periods shall have expired
without any action being taken or threatened by any competent authority that would restrain,
prevent or otherwise impose materially adverse conditions on such transactions; and
                (e)    all documents and agreements necessary to implement the Plan shall have
(i) been tendered for delivery and (ii) been effected or executed by all Entities party thereto, and
all conditions precedent to the effectiveness of such documents and agreements shall have been
satisfied or waived pursuant to the terms of such documents or agreements.
                      (f)     The title to the Properties shall be transferred to EVF1 or its nominee or
designee.

         11.3. Waiver of Conditions Precedent.
        Each of the conditions precedent to the Effective Date in Section 11.2 of the Plan other
than the condition set forth in section 11.2(a) shall not be waived in writing by the Debtors
without the consent of EVF1, which consent shall not be unreasonably withheld.

         11.4. Effect of Failure of Conditions to Effective Date.
        If the Confirmation Order is vacated due to a failure of a condition to the Effective Date
to occur, (i) no distributions under the Plan shall be made; (ii) the Debtors and all holders of
Claims and Interests shall be restored to the status quo ante as of the day immediately preceding
the Confirmation Date as though the Confirmation Date ever occurred; and (iii) all monies
transferred to the Plan Administrator for Confirmation shall be held in escrow within three (3)
business days of the Confirmation Order being vacated.

SECTION 12.                 EFFECT OF CONFIRMATION.

         12.1. Vesting of Assets.
         Except for the Properties, which shall vest in EVF1 or its nominee or designee, on the
Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all remaining
property of the Debtors’ Estates shall revest in the Debtors free and clear of all Claims, Liens,
encumbrances, charges and other interests, except as provided pursuant to this Plan and the
Confirmation Order and/or Sale Order. EVF1 or its nominee or designee, at its election, may
take title to the Properties subject to the EVF1 Mortgages.

         12.2. Release of Liens.
         Except as otherwise provided in the Plan or in any contract, instrument, release, or other
agreement or document created pursuant to the Plan, on the Effective Date, all mortgages, deeds
of trust, Liens, pledges, or other security interests against any property of the Estates shall be
fully released, settled, and compromised and all rights, titles, and interests of any holder of such
mortgages, deeds of trust, Liens, pledges, or other security interests against any property of the
Estates shall revert to the Debtors, unless sold to EVF1 pursuant to the Sale Transaction,



{00877883.DOCX;10 }                                    29
17-22453-rdd          Doc 739   Filed 12/15/20 Entered 12/15/20 14:03:12          Main Document
                                            Pg 30 of 39



provided however, that the Liens securing the EVF1 Secured Class 2 Claim shall not be deemed
released until the EVF1 Class 2 Secured Claim has been paid in full by the transfer of the
Properties to EVF1 or its nominee or designee in accordance with the terms of this Plan,
provided, however that EVF1 or its nominee or designee, at its election, may take title to the
Properties subject to the EVF1 Mortgages. In the event EVF1 or its nominee or designee elects
to take title to the Properties subject to the EVF1 Mortgages, Debtors shall have no further
financial obligation to EVF1 or any assignee of the EVF1 Mortgages and shall be released from
any and all liability to EVF1 or any assignee upon a sale or transfer of title of the Properties.

         12.3. Subordinated Claims.
        The allowance, classification, and treatment of all Allowed Claims and Interests and the
respective distributions and treatments under the Plan take into account and conform to the
relative priority and rights of the Claims and Interests in each Class in connection with any
contractual, legal, and equitable subordination rights relating thereto, whether arising under
general principles of equitable subordination, section 510(b) of the Bankruptcy Code, or
otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors reserve the right for the
Plan Administrator to re-classify any Allowed Claim or Interest in accordance with any
contractual, legal, or equitable subordination relating thereto.

         12.4. Binding Effect.
        Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code and subject
to the occurrence of the Effective Date, on and after the Effective Date, the provisions of the
Plan shall bind any holder of a Claim against, or Interest in, the Debtors, and such holder’s
respective successors and assigns, whether or not the Claim or Interest of such holder is Impaired
under the Plan and whether or not such holder has accepted the Plan.

         12.5. [intentionally omitted]
         12.6. Term of Injunctions or Stays.
        Unless otherwise provided, all injunctions or stays arising under or entered during the
Chapter 11 Cases under section 105 or 362 of the Bankruptcy Code, or otherwise, and in
existence on the Confirmation Date, shall remain in full force and effect until the later of the
Effective Date and the date indicated in the order providing for such injunction or stay.

         12.7. Plan Injunction.
        Except (i) as otherwise provided under Final Order entered by the Bankruptcy
Court or (ii) with respect to the Debtors’ obligations under the Plan, the entry of the
Confirmation Order shall forever stay, restrain and permanently enjoin with respect to
any Claim held against the Debtors as of the date of entry of the Confirmation Order (i) the
commencement or continuation of any action, the employment of process, or any act to
collect, enforce, attach, recover or offset from the Debtors, from the Properties, or from
properties of the Estates that has been or is to be distributed under the Plan, and (ii) the
creation, perfection or enforcement of any Lien or encumbrance against the Properties and
any property of the Estates that has been or is to be, distributed under the Plan. Except as
otherwise provided in the Confirmation Order, the entry of the Confirmation Order shall


{00877883.DOCX;10 }                              30
17-22453-rdd          Doc 739   Filed 12/15/20 Entered 12/15/20 14:03:12           Main Document
                                            Pg 31 of 39



constitute an injunction against the commencement or continuation of any action, the
employment of process, or any act to collect, recover or offset from the Debtors, from the
Properties, or from property of the Estates, any claim, any obligation or debt that was held
against the Debtors by any person or entity as of the Confirmation Date except pursuant to
the terms of this Plan. The entry of the Confirmation Order shall permanently enjoin all
Creditors, their successors and assigns, from enforcing or seeking to enforce any such
Claims.

         12.8. Limitation of Liability
        To the extent permitted under Section 1125(e) of the Bankruptcy Code, neither the
Exculpated Parties nor any of their respective officers, directors, or employees (acting in such
capacity) nor any professional person employed by any of them, shall have or incur any liability
to any entity for any action taken or omitted to be taken in connection with or related to the
formulation, preparation, dissemination, Confirmation or consummation of the Plan, the
Disclosure Statement, the Plan Supplement or any contract, instrument, release or other
agreement or document created or entered into, or any other action taken or omitted to be taken
in connection with the Plan, provided that each Exculpated Party shall be entitled to rely upon
the advice of counsel concerning his, her, or its duties pursuant to, or in connection with, the
Plan or any other related document, instrument, or agreement, except in the case of fraud, gross
negligence, willful misconduct, malpractice, breach of fiduciary duty, criminal conduct,
unauthorized use of confidential information that causes damages, or ultra vires acts. Nothing in
this Section 12.8 shall limit the liability of the Debtors’ professionals pursuant to Rule 1.8(h)(1)
of the New York State Rules of Professional Conduct. Nothing in the Plan or the Confirmation
Order shall effect a release of any claim by the United States Government or any of its agencies
or any state and local authority whatsoever, including, without limitation, any claim arising
under the Internal Revenue Code, the environmental laws or any criminal laws of the United
States or any state and local authority against the Debtors or any of its respective members,
shareholders, officers, directors, employees, attorneys, advisors, agents, representatives and
assigns, nor shall anything in the Plan enjoin the United States or any state or local authority
from bringing any claim, suit, action or other proceedings against the Debtors or any of their
respective members, officers, directors, employees, attorneys, advisors, agents, representatives
and assigns for any liability whatever, including without limitation, any claim, suit or action
arising under the Internal Revenue Code, the environmental laws or any criminal laws of the
United States or any state or local authority, nor shall anything in this Plan exculpate Debtors or
any of their respective members, officers, directors, employees, attorneys, advisors, agents,
representatives and assigns from any liability to the United States Government or any of its
agencies or any state and local authority whatsoever, including liabilities arising under the
Internal Revenue Code, the environmental laws or any criminal laws of the United States or any
state and local authority.

         12.9. Release
       EXCEPT AS OTHERWISE PROVIDED IN THE PLAN (INCLUDING WITH
RESPECT TO THE DISPUTED CLAIMS), upon the Effective Date, in consideration of the
Cash and other property to be distributed to or on behalf of the holders of Claims and Interests
under the Plan, the Plan shall be deemed to resolve all disputes and constitute a settlement and



{00877883.DOCX;10 }                              31
17-22453-rdd          Doc 739   Filed 12/15/20 Entered 12/15/20 14:03:12          Main Document
                                            Pg 32 of 39



release, between and among the Debtors, on the one hand, and each Creditor and Interest Holder,
on the other, from any claim or liability, whether legal, equitable, contractual, secured,
unsecured, liquidated, unliquidated, disputed, undisputed, matured, unmatured, fixed or
contingent, known or unknown, that the Debtors, their Creditors or Interest Holder ever had or
now have through the Effective Date in connection with their Claim or Interest (including,
without limitation, any claims the Debtors may assert on their own behalf or on behalf of
Creditors or Interest Holders pursuant to sections 510 and 542 through 553 of the Bankruptcy
Code, any claims Creditors or Interest Holders may have asserted derivatively on behalf of the
Debtors absent bankruptcy, any claims based on the conduct of the Debtors’ business affairs
prior or subsequent to the commencement of the Case or any claims based on the negotiation,
submission and confirmation of the Plan)
         Debtors Release in Favor of EVF1
        The Plan shall constitute a settlement and compromise of all claims and causes of action
by and between the Debtors and the Debtors’ bankruptcy Estates and EVF1 pursuant to and
under Bankruptcy Rule 9019. Pursuant to the Settlement Agreement, EVF1 or its nominee or
designee shall acquire the Properties in full and final satisfaction of its secured claim and EVF1
shall fund payment of Administrative Claims, United States Trustee Fees, Priority Claims, Other
Secured Claims and distribution of Allowed General Unsecured Claims and Tenant Claims, if
any. In exchange, EVF1 shall be entitled to the Third Party Release as set forth below and the
Debtors have agreed as follows:

        The Debtors, on their own behalf and on behalf of, the Debtors’ bankruptcy Estates, any
person or entity claiming by or through the Debtors’ bankruptcy Estates, and each of their officers,
directors, shareholders, members, managers, agents, employees, attorneys, partners, associates and
insurers (collectively the “Debtor Releasors”) agree to and shall be deemed to have fully and
generally released and discharged EVF1 and each of its present or former officers, directors,
shareholders, affiliates, successors-in-interest, assigns, designees, nominees, members, managers,
agents, employees, attorneys, partners, associates and insurers, including SPG (collectively the
“Secured Lender Released Parties”) from and against any and all manner of claims, whether
asserted or unasserted, contemplated or raised, causes of actions, suits, debts, dues, accounts,
bonds, covenants, contracts, agreements, judgments, losses, damages, liabilities and demands of
any kind whatsoever in law or in equity, whether known or unknown, suspected or unsuspected,
contingent or fixed, including attorneys’ fees and costs that any of the Debtor Releasors now have,
have had or in the future may have against any of the Secured Lender Released Parties arising out
of, related to or in connection with, directly or indirectly, the Debtors, the Debtors’ bankruptcy
Estates, the EVF1 Mortgages, the Properties, and/or the facts and circumstances related thereto (the
“Debtor Released Claims”). Notwithstanding anything herein to the contrary, the release of the
Secured Lender Released Parties herein shall not release EVF1 from any of its obligations under
this Plan.

         EVF1 Release in Favor of Debtors

       EVF1and each of its officers, directors, shareholders, members, managers, agents,
employees, attorneys, partners, associates and insurers, including SPG (collectively the “EVF1
Releasors”) agree to and shall be deemed to have fully and generally released and discharged the



{00877883.DOCX;10 }                             32
17-22453-rdd          Doc 739   Filed 12/15/20 Entered 12/15/20 14:03:12           Main Document
                                            Pg 33 of 39



Debtors the Debtors’ Estates and each of their present or former officers, directors, shareholders,
affiliates, successors-in-interest, assigns, designees, nominees, members, managers, agents,
employees, attorneys, partners, associates and insurers (collectively the “Debtor Released Parties”)
from and against any and all manner of claims, whether asserted or unasserted, contemplated or
raised, causes of actions, suits, debts, dues, accounts, bonds, covenants, contracts, agreements,
judgments, losses, damages, liabilities and demands of any kind whatsoever in law or in equity,
whether known or unknown, suspected or unsuspected, contingent or fixed, including attorneys’
fees and costs that any of the EVF1 Releasors now have, have had or in the future may have
against any of the Debtor Released Parties arising out of, related to or in connection with, directly
or indirectly, the Debtors, the Debtors’ bankruptcy Estates, the EVF1 Mortgages, the Properties,
and/or the facts and circumstances related thereto (the “Debtor Released Claims”).
Notwithstanding anything herein to the contrary, the release of the Debtor Released Parties herein
shall not release Debtors from any of their obligations under this Plan.

         Third Party Releases in Favor of EVF1

        On the Effective Date, to the fullest extent permissible under applicable law, as such law
may be extended or interpreted subsequent to the Effective Date, in exchange for the Settlement
Agreement and the other obligations of EVF1 hereunder and in consideration for the obligations
under the Plan, the rights as otherwise set forth in the Plan to distributions (if any), and the Cash
and other contracts, instruments, releases, agreements or documents to be delivered in connection
with the Plan (if any), each Person or Entity that has held, holds or may hold a Claim or Interest,
as applicable, in this Bankruptcy Case will be deemed to forever release, waive, and discharge all
claims, demands, debts, rights, causes of action or liabilities against EVF1 and its present or
former officers, directors, shareholders, affiliates, successors-in-interest, assigns, designees,
nominees, members, managers, agents, employees, attorneys, partners, associates and insurers,
including SPG, whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, then existing or thereafter arising, in law, equity or
otherwise that are based in whole or in part on any act or omission, transaction, event or other
occurrence arising out of, related to or in connection with, directly or indirectly, the Debtors, the
Debtors’ bankruptcy Estates, the EVF1 Mortgages, the Properties, and/or the facts and
circumstances related thereto.

         12.10. Solicitation of the Plan.
         As of and subject to the occurrence of the Confirmation Date: (a) the Debtors shall be
deemed to have solicited acceptances of the Plan in good faith and in compliance with the
applicable provisions of the Bankruptcy Code, including without limitation, sections 1125(a) and
(e) of the Bankruptcy Code, and any applicable non-bankruptcy law, rule or regulation governing
the adequacy of disclosure in connection with such solicitation.

         12.11. Plan Supplement.
       The Plan Supplement has been filed with the Clerk of the Bankruptcy Court and may be
inspected in the office of the Clerk of the Bankruptcy Court during normal court hours.
SECTION 13.            RETENTION OF JURISDICTION.



{00877883.DOCX;10 }                              33
17-22453-rdd            Doc 739    Filed 12/15/20 Entered 12/15/20 14:03:12            Main Document
                                               Pg 34 of 39



       On and after the Effective Date, the Bankruptcy Court shall retain jurisdiction over all
matters arising in, arising under, and related to the Chapter 11 Cases for, among other things, the
following purposes:
               (a)    to hear and determine motions and/or applications for the assumption or
rejection of Executory Contracts or Unexpired Leases and the allowance, classification, priority,
compromise, estimation or payment of Claims resulting there from;
               (b)       to determine any motion, adversary proceeding, application, contested
matter, or other litigated matter pending on or commenced after the Confirmation Date;
               (c)          to insure that distributions to holders of Allowed Claims are accomplished
as provided herein;
               (d)   to consider Claims or the allowance, classification, priority, compromise,
estimation or payment of any Claim;
              (e)    to enter, implement or enforce such orders as may be appropriate in the
event the Confirmation Order is for any reason stayed, reversed, revoked, modified or vacated;
                      (f)   to adjudicate any dispute related to such order, or the Sale Transaction;
               (g)     to issue injunctions, enter and implement other orders, and take such other
actions as may be necessary or appropriate to restrain interference by any Person with the
Consummation, implementation or enforcement of the Plan, including the Confirmation Order,
or any other order of the Bankruptcy Court;
               (h)     to hear and determine any application to modify the Plan in accordance
with section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any
inconsistency in the Plan, or any order of the Bankruptcy Court, including the Confirmation
Order, in such a manner as may be necessary to carry out the purposes and effects thereof;
              (i)     to hear and determine all applications under sections 330, 331, and 503(b)
of the Bankruptcy Code for awards of compensation for services rendered and reimbursement of
expenses incurred before the Confirmation Date;
                (j)   to hear and determine disputes arising in connection with the
interpretation, implementation, or enforcement of the Plan, the Purchase Agreement, or the
Confirmation Order or any agreement, instrument, or other document governing or relating to
any of the foregoing;
                (k)    to take any action and issue such orders as may be necessary to construe,
interpret, enforce, implement, execute, and consummate the Plan or to maintain the integrity of
the Plan following Consummation;
               (l)    to determine such other matters and for such other purposes as may be
provided in the Confirmation Order;
              (m)     to hear and determine matters concerning state, local and federal taxes in
accordance with sections 346, 505 and 1146 of the Bankruptcy Code (including any requests for


{00877883.DOCX;10 }                                  34
17-22453-rdd            Doc 739      Filed 12/15/20 Entered 12/15/20 14:03:12             Main Document
                                                 Pg 35 of 39



expedited determinations of the Debtors’ tax liability under section 505(b) of the Bankruptcy
Code);
              (n)    to adjudicate, decide or resolve any and all matters related to section 1141
of the Bankruptcy Code;
               (o)            to adjudicate any and all disputes arising from or relating to distributions
under the Plan;
              (p)    to hear and determine any other matters related hereto and not inconsistent
with the Bankruptcy Code and title 28 of the United States Code;
                      (q)     to enter a final decree closing the Chapter 11 Cases;
                      (r)     to enforce all orders previously entered by the Bankruptcy Court;
              (s)     to recover all assets of the Debtors and property of the Debtors’ Estates,
wherever located; and
               (t)    to hear and determine any rights, Claims or Causes of Action held by or
accruing to the Debtors pursuant to the Bankruptcy Code or pursuant to any federal statute or
legal theory.
SECTION 14.                 MISCELLANEOUS PROVISIONS.

         14.1. Payment of Statutory Fees.
        On the Effective Date and thereafter as may be required, the Debtors or the Plan
Administrator shall pay all fees incurred pursuant to § 1930 of title 28 of the United States Code,
together with interest, if any, pursuant to § 3717 of title 31 of the United States Code for the
Debtors’ Chapter 11 Cases; provided, however, that after the Effective Date such fees shall only
be payable with respect to the Debtors’ Chapter 11 Cases until such time as a final decree is
entered closing the Debtors’ Cases, a Final Order converting such case to a case under chapter 7
of the Bankruptcy Code is entered or a Final Order dismissing the Debtors’ Cases is entered.

         14.2. Substantial Consummation.
       On the Effective Date, the Plan shall be deemed to be substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code.

         14.3. Amendments.
                (a)     Plan Modifications. The Plan may be amended, modified or supplemented
by the Debtors in the manner provided for by section 1127 of the Bankruptcy Code or as
otherwise permitted by law without additional disclosure pursuant to section 1125 of the
Bankruptcy Code; provided that such amendments, modifications, or supplements shall be
satisfactory in all respects to the Debtors and EVF1. In addition, after the Confirmation Date, the
Debtors may institute proceedings in the Bankruptcy Court to remedy any defect or omission or
reconcile any inconsistencies in the Plan or the Confirmation Order, with respect to such matters
as may be necessary to carry out the purposes and effects of the Plan.


{00877883.DOCX;10 }                                     35
17-22453-rdd           Doc 739    Filed 12/15/20 Entered 12/15/20 14:03:12        Main Document
                                              Pg 36 of 39



               (b)     Other Amendments. Before the Effective Date, the Debtors may make
appropriate technical adjustments and modifications to the Plan and the documents contained in
the Plan Supplement without further order or approval of the Bankruptcy Court.

         14.4.        Revocation or Withdrawal of the Plan.
        The Debtors reserve the right, after good-faith consultation with EVF1, to revoke or
withdraw the Plan, prior to the Confirmation Date. If the Debtors, in good-faith, in consultation
with EVF1, revoke or withdraw the Plan, or if Confirmation or Consummation does not occur,
then: (1) the Plan shall be null and void in all respects; (2) any settlement or compromise
embodied in the Plan (including the fixing or limiting to an amount certain of any Claim or
Interest or Class of Claims or Interests), assumption or rejection of Executory Contracts or
Unexpired Leases effected by the Plan, and any document executed pursuant to the Plan, shall be
deemed null and void; and (3) nothing contained in the Plan shall: (a) constitute a waiver or
release of any Claims or Interests; (b) prejudice in any manner the rights of the Debtors, the
Debtors’ Estates, or any other Entity; or (c) constitute an admission, acknowledgement, offer, or
undertaking of any sort by the Debtors, the Debtors’ Estates, or any other Entity.

         14.5. Severability of Plan Provisions upon Confirmation.
         If, before the entry of the Confirmation Order, any term or provision of the Plan is held
by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the
request of the Debtors, shall have the power to alter and interpret such term or provision to make
it valid or enforceable to the maximum extent practicable, consistent with the original purpose of
the term or provision held to be invalid, void, or unenforceable, and such term or provision shall
then be applicable as altered or interpreted. Notwithstanding any such holding, alteration or
interpretation, the remainder of the terms and provisions of the Plan will remain in full force and
effect and will in no way be affected, impaired or invalidated by such holding, alteration or
interpretation. The Confirmation Order shall constitute a judicial determination and shall provide
that each term and provision of the Plan, as it may have been altered or interpreted in accordance
with the foregoing, is (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and
may not be deleted or modified without the consent of the Debtors or the Plan Administrator (as
the case may be); and (3) nonseverable and mutually dependent.

         14.6. Governing Law.
        Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the
extent an exhibit hereto or a schedule in the Plan Supplement provides otherwise, the rights,
duties and obligations arising under the Plan shall be governed by, and construed and enforced in
accordance with, the laws of the State of New York, without giving effect to the principles of
conflict of laws thereof.

         14.7. Time.
        In computing any period of time prescribed or allowed by the Plan, unless otherwise set
forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy Rule 9006
shall apply.

         14.8. Additional Documents


{00877883.DOCX;10 }                                36
17-22453-rdd            Doc 739    Filed 12/15/20 Entered 12/15/20 14:03:12      Main Document
                                               Pg 37 of 39



        On or before the Effective Date, the Debtors may file with the Bankruptcy Court such
agreements and other documents as may be necessary or appropriate to effectuate and further
evidence the terms and conditions of the Plan. The Debtors and all holders of Claims or Interests
receiving distributions pursuant to the Plan and all other parties in interest shall, prepare,
execute, and deliver any agreements or documents and take any other actions as may be
necessary or advisable to effectuate the provisions and intent of the Plan.

         14.9. Immediate Binding Effect.
        Notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise, upon the
occurrence of the Effective Date, the terms of the Plan and Plan Supplement shall be
immediately effective and enforceable and deemed binding upon and inure to the benefit of the
Debtors, EVF1, the holders of Claims and Interests, the Exculpated Parties, and each of their
respective successors and assigns, including, without limitation, the Plan Administrator.

         14.10. Successor and Assigns.
       The rights, benefits and obligations of any Person named or referred to in the Plan shall
be binding on, and shall inure to the benefit of any heir, executor, administrator, successor or
permitted assign, if any, of each Entity.

         14.11. Entire Agreement.
      On the Effective Date, the Plan, the Plan Supplement, the Purchase Agreement, and the
Confirmation Order shall supersede all previous and contemporaneous negotiations, promises,
covenants, agreements, understandings and representations on such subjects, all of which have
become merged and integrated into the Plan.

         14.12. Notices.
        All notices, requests and demands to or upon the Debtors to be effective shall be in
writing (including by facsimile transmission) and, unless otherwise expressly provided herein,
shall be deemed to have been duly given or made when actually delivered or, in the case of
notice by facsimile transmission, when received and telephonically confirmed, addressed as
follows:
         if to the Debtors or Plan Administrator:

                      c/o FIA Capital Partners LLC
                      3284 No. 29th Court
                      Hollywood, Florida 33030
                      Facsimile: (866) 353-6360
                      Attention: David Goldwasser
         - and –
                      Robinson Brog Leinwand Greene Genovese & Gluck P.C.
                      875 Third Avenue, 9th Floor
                      New York, New York 10022
                      Telephone: (212) 603-6300


{00877883.DOCX;10 }                                  37
17-22453-rdd            Doc 739     Filed 12/15/20 Entered 12/15/20 14:03:12           Main Document
                                                Pg 38 of 39



                      Facsimile: (212) 956-2164
                      Attention: A. Mitchell Greene, Esq. and Lori A. Schwartz, Esq.

After the Effective Date, the Debtors shall have the authority to send a notice to Entities that to
continue to receive documents pursuant to Bankruptcy Rule 2002, that they must file a renewed
request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the
Debtors are authorized to limit the list of Entities receiving documents pursuant to Bankruptcy
Rule 2002 to those Entities who have filed such renewed requests.

         14.13. Orders in Aid of Consummation.
       Pursuant to Sections 105, 1141, 1142 and 1143 of the Bankruptcy Code, the Bankruptcy
Court may enter one or more Orders in aid of Confirmation directing the implementation of
matters or actions required by the Plan.

         14.14. Due Authorization by Creditors.
        Each and every Creditor who accepts the distributions provided for under the Plan
warrants that it is the lawful owner of such Claim and is authorized to accept the distributions
provided for in the Plan and that there are no outstanding Liens, encumbrances, commitments,
agreements, or understandings, express or implied, that may or can in any way defeat or modify
the rights released, conveyed or modified by the Plan, or obligations undertaken by such Creditor
under the Plan.




         14.15. Request for Relief Under Section 1129(b).
       If the Plan is accepted by one or more, but not all impaired Classes of Creditors, the
Debtors may request confirmation under Section 1129(b) of the Bankruptcy Code of any Class of
Creditors, subject to any modification of the Plan made pursuant to Section 1127 of the
Bankruptcy Code, Bankruptcy Rule 3019.


         Dated: New York, New York
                December 15, 2020


                                                   East Village Properties LLC, 223 East 5th Street
                                                   LLC, 229 East 5th Street LLC, 231 East 5th Street
                                                   LLC, 233 East 5th Street LLC, 235 East 5th Street
                                                   LLC, 228 East 6th Street LLC, 66 East 7th Street
                                                   LLC, 27 St Marks Place LLC, 334 East 9th Street
                                                   LLC, 253 East 10th Street LLC, 325 East 12th Street
                                                   LLC, 327 East 12th Street LLC, 329 East 12th Street


{00877883.DOCX;10 }                                  38
17-22453-rdd          Doc 739   Filed 12/15/20 Entered 12/15/20 14:03:12      Main Document
                                            Pg 39 of 39



                                            LLC, 510 East 12th Street LLC, and 514 East 12th
                                            Street LLC

                                            By: /s/ David Goldwasser
                                                   David Goldwasser
                                                   Managing Member



                                            ROBINSON BROG LEINWAND GREENE
                                             GENOVESE & GLUCK P.C.
                                            Attorneys for the Debtors
                                            875 Third Avenue, 9th Floor
                                            New York, New York 10022
                                            Tel. No.: (212) 603-6300

                                            By: /s/ A. Mitchell Greene
                                                 A. Mitchell Greene




{00877883.DOCX;10 }                            39
